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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


BLACK VOTERS MATTER FUND,                  :
MEGAN GORDON, and PENELOPE                 :
REID, on behalf of herself and all         :
others similarly situated,                 :
                                           :
       Plaintiffs,                         :
                                           :
v.                                         :
                                           :
BRAD RAFFENSPERGER, in his                 :                                CIVIL ACTION NO.
official capacity as Secretary of State of :                                1:20-cv-01489-AT
Georgia, and DEKALB COUNTY                 :
BOARD OF REGISTRATION &                    :
ELECTIONS, and all others similarly        :
situated,                                  :
                                           :
       Defendants.                         :


                                        ORDER AND OPINION


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      Plaintiffs Black Voters Matter Fund Megan Gordon and Penelope Reid filed

this putative class action against Brad Raffensperger, the Georgia Secretary of

State (“Secretary”) and the DeKalb County Board of Registration & Elections

(“DeKalb BOR”) (on behalf of all similarly situated county boards of elections)

(collectively, including the proposed defendant class, “Defendants”) alleging that

Defendants have unconstitutionally infringed the rights of Georgians to vote by

requiring voters to pay for their own postage to submit absentee ballot

applications and absentee ballots. Plaintiffs contend that the postage requirement

is a poll tax in violation of the Twenty-Fourth and Fourteenth Amendments and

an unjustifiable burden on the right to vote in violation of the First and

Fourteenth Amendments. Plaintiffs seek relief, in the form of (a) a declaratory

judgment that the requirement that voters affix their own postage to mail-in

absentee ballots and mail-in absentee ballot applications is unconstitutional; and

(b) a preliminary and permanent injunction prohibiting Defendants from

requiring that voters affix their own postage for absentee ballots and applications

and mandating that Defendants provide prepaid postage returnable envelopes for

absentee ballots or postage.

      The Court previously held a hearing on Plaintiffs’ Motion on April 24,

2020. (Doc. 69.) The Court denied the Motion for Preliminary Injunction as to

the June 2020 election only, and later as to the August 2020 election in response

to Plaintiffs’ Motion for Temporary Restraining Order (Docs. 83, 93.) The Court

has kept the issue of the November 2020 election under advisement, and the

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parties have filed a number of supplemental briefs and filings, which the Court

has reviewed.

       Currently pending before the Court are the following motions:

           • Plaintiffs’ Motion for a Preliminary Injunction as to the November
             2020 General Election [Doc. 2]; 1

           • The Secretary’s Motion to Dismiss Plaintiffs’ Amended Complaint
             [Doc. 90];

The DeKalb Defendants have also filed a Motion to Dismiss Plaintiffs’ Amended

Complaint (Doc. 104). In addition to incorporating the Secretary’s arguments, the

DeKalb Defendants also raise issues of immunity that the Court need not reach in

connection with the instant Motion for Preliminary Injunction. Accordingly, the

Court will address that motion to dismiss at a later time. For similar reasons,

because the Court finds that Plaintiffs have alleged standing, the Court need not

reach Plaintiffs’ Motion to Certify Plaintiff and Defendant Classes (Doc. 110) at

this time.

       This is one of many challenges to Georgia’s election procedures, both

before and after the pandemic, pending in this district.2 This case addresses an

extremely narrow question of whether the state may require voters to affix

postage to absentee ballot applications and absentee ballots, or whether the state


1Plaintiffs’ Motion to Supplement [Doc. 136] is GRANTED.
2 See, e.g., The New Georgia Project et al v. Raffensperger et al, Civil Action No. 1:20-cv-01986-
ELR (N.D. Ga. May 8, 2020); Anderson et al. v. Raffensperger et al., Civil Action No. 1:20-cv-
03263-MLB (N.D. Ga. Aug. 6, 2020); Fair Fight Action Inc. v. Raffensperger, Civil Action No.
1:18-cv-5391-SCJ (N.D. Ga. Nov. 27, 2018); Curling et al v. Raffensperger, Civil Action No. 1:17-
cv-2989-AT (N.D. Ga. Oct. 15, 2019) (Amended Complaints, Docs. 627, 628).


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must prepay for such postage. It is by no means the final word on Georgia’s

absentee balloting procedures, election procedures or Georgia’s response in the

electoral sphere to the challenges posed by the pandemic. There may be evidence

that leads another court to different conclusions as to the overall legality of the

absentee ballot process or specific features of that process — or their

implementation within the state. But for the reasons that follow, the Motion for

Preliminary Injunction is DENIED.

I.     Background

       A.     Georgia’s Absentee Ballot Procedure

       Georgia law permits voters to cast an absentee ballot by mail. See generally

O.C.G.A. § 21-2-380 et seq.3 In order to vote by absentee ballot, a voter must first

submit an application “either by mail, by facsimile transmission, by electronic

transmission, or in person in the registrar’s or absentee ballot clerk’s office.”

O.C.G.A. § 21-2-381(a)(1)(A).       Upon      receipt    of   a   timely    absentee     ballot

application, the relevant election official determines the voter’s eligibility. Id. §

381(b)(1).

       In the next step of the process, state law requires that local election officials

“prepare, obtain, and deliver . . . an adequate supply of official absentee ballots to

the board of registrars or absentee ballot clerk for use in the primary or election



3Georgia law considers any voter who does not “cast[] a ballot in a primary, election, or runoff
other than in person at the polls on the day of such primary, election, or runoff” to be an
absentee voter, which includes early voters. O.C.G.A. § 21-2-380(a). Under Georgia law, a voter
does not need to provide a reason to vote by absentee ballot. Id. § 380(b).


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or as soon as possible prior to a runoff.” O.C.G.A. § 21-2-384(a)(1). Then, the

relevant election official provides eligible voters with the absentee ballots.

Specifically, Georgia law requires that such official “shall mail or issue official

absentee ballots to all eligible applicants not more than 49 days but not less than

45 days prior to any presidential preference primary, general primary other than

a municipal general primary, general election other than a municipal general

election, or special primary or special election in which there is a candidate for a

federal office on the ballot.” Id. § 384(a)(2).

      Registered voters who submitted absentee ballot applications requesting to

vote by mail are supposed to receive three things by mail prior to election day: (a)

the ballot itself, (b) a small “secrecy” envelope for placing the ballot in, and (c) a

larger envelope for mailing the envelope containing the ballot. O.C.G.A. § 21-2-

384(b), § 21-2-385(a). Prior to election day, the voter must “vote his or her

absentee ballot, then fold the ballot and enclose and securely seal the same in the

[smaller] envelope on which is printed ‘Official Absentee Ballot.’” O.C.G.A. § 21-

2-385(a). Next, this smaller “envelope shall then be placed in the second [larger]

one, on which is printed the form of the oath of the elector; the name and oath of

the person assisting, if any; and other required identifying information.” Id. “The

elector shall then fill out, subscribe, and swear to the oath printed on such

envelope. Such envelope shall then be securely sealed and the elector shall then

personally mail or personally deliver same to the board of registrars or absentee



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ballot clerk.” Id. The backside of the mailing envelope filed by the Defendants

with the Court asks three questions in bold on the top sealing portion:

                             STOP

              Have you signed the oath?

              Have you placed your ballot in the white envelope and
sealed it?
              Have you affixed sufficient postage?

(Docs. 54, 55.)

       The outer, larger absentee ballot return envelope has a large logo

indicating it is “Official Election Mail Authorized by the U.S. Postal Service.”

(Doc. 54-3 at 3.) The Secretary contends that the USPS has a policy of delivering

official election mail regardless of whether the mail has sufficient postage:

       The USPS has previously issued specific guidance that normal
       procedures for short-paid and unpaid mail should not be followed
       when processing absentee ballot materials: absentee ballots are
       delivered to the election office and not returned to the voter even if
       there is insufficient or no postage. Postage will be collected from the
       election office at a later date.

(Sec’y Resp. Br. at 15–16, Doc. 51, citing Postal Bulletin 22391 2014 Election and

Political Mail Update, United States Postal Service (June 12, 2014),

https://about.usps.com/postal-bulletin/2014/pb22391/html/front_cvr.htm)

(footnotes omitted).4


4 The postal bulletin also states that “the balloting materials for all types of ballots, whether
disseminated in hardcopy or electronically, must indicate in a prominent location the proper
amount of First-Class Mail® postage that must be paid. . . . Alternatively, the marking ‘Apply
First-Class Mail postage here’ could be printed in the upper right corner of the address side of
the envelope used by the voter to return the ballot to election officials. . . . Additionally,


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       As explained above, the statute requires that absentee ballot applications

may be submitted “by mail,” O.C.G.A. § 21-2-381(a)(1)(A), and that absentee

ballot applications shall be “personally mail[ed] or personally deliver[ed]” by the

voter. O.C.G.A. § 21-2-385(a). However, no portion of the Georgia Code

addresses who must pay for postage for absentee ballot applications and absentee

ballots.5 Absentee ballot application forms do not contain prepaid postage, and

therefore the voter must pay postage to return the application. (Aff. Rayburn ¶

8.b.) A “voter could return the completed form electronically to the county email

address supplied on the absentee ballot request form that was mailed out.” (Aff.

Rayburn ¶ 8.b.) However, this option applies only to the absentee ballot

application, not to the ballot itself.

       Other Georgia voting statutes are more explicit about postage. For

example, O.C.G.A. § 21-2-233(b) provides that if the Secretary of State receives

information from the United States Postal Service about a change of address

indicating a voter has moved to a different address in the same county she is

registered in, the Secretary is required to change the list of voters to reflect the

new address and send a form by forwardable mail to the voter’s old address (and

balloting materials must indicate, in a prominent location, the specific amount of
First-Class Mail postage required for the return of the ballot to election officials.
The marking requirements will not apply to balloting materials that meet one of the following
exceptions: The balloting materials are qualified under the special exemption for military and
overseas voting; the ballot is returned under Business Reply Mail® service; return postage is
guaranteed through a postage due account; or postage on the ballot is prepaid by
stamps, meter, or Permit Reply Mail. . . .” (emphasis added).
5 O.C.G.A. § 21-2-389 provides that the postage for sending the ballot itself to the voter “shall be

paid by the county or municipality.” However, the Secretary of State apparently paid for postage
on all outgoing absentee ballots issued to voters for the June 9, 2020 primary.


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optionally to the new address) containing “postage prepaid, preaddressed return

form by which the elector may verify or correct the address information.” See also

O.C.G.A. § 21-2-234(c) (requiring voter inactivity list confirmation notice to be a

“postage prepaid, preaddressed return card.”). Plaintiffs also submitted evidence

that postage appears to be provided by the Secretary in some instances not

addressed by any specific statutory provision. (See Doc. 52-2 at 1-2) (voter

registration application form along with prepaid envelope for such application).

      Voters who do not have stamps may request and receive stamps from

others for the purpose of voting. The State Election Board has interpreted

O.C.G.A. § 21-2-570’s ban on gifts for registering as a voter to permit furnishing

of postage by a third party for submitting an absentee ballot or absentee ballot

application. Ga. R. & Reg. 183-1-19-.01.

      B.    The COVID-19 Outbreak and Georgia’s Initial Response

      The entire world is currently embroiled in a global pandemic unlike any

seen in recent history. On or around February 17, 2020, the State of Georgia

recorded its first confirmed case of the highly contagious viral disease known as

COVID-19. COVID-19 Daily Status Report, Ga. Dep’t of Pub. Health,

https://dph.georgia.gov/covid-19-daily-status-report    (last   accessed   Aug. 7,

2020). Since then, the number of confirmed cases has surged to over 200,000,

and that number continues to rise daily. Id. In recognition of this public health

emergency, on March 14, 2020, Gov. Brian Kemp issued Executive Order No.

03.14.20.01, declaring a Public Health State of Emergency in Georgia. (Mot.

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Prelim. Inj. (“Motion”), Ex. F at 1.)6 Later, on April 2, 2020, Gov. Kemp issued a

statewide, shelter-in-place order, entitled Executive Order to Ensure a Safe &

Healthy Georgia (the “Order”). The Order required that “all residents and visitors

of the State of Georgia are required to shelter in place within their homes or

places of residence, meaning remaining in their place of residence and taking

every possible precaution to limit social interaction to prevent the spread or

infection of COVID-19” unless subject to an exception. Id. The Order noted that

“[t]he Centers for Disease Control and Prevention has determined that older

adults, people of any age who have serious underlying medical conditions, and

certain other groups may be at higher risk for more serious complications from

COVID-19.” Id.

      In light of this public health emergency, Secretary of State Raffensperger

announced on March 14, 2020 that he was delaying the Presidential Preference

Primary Election, which was originally scheduled for March 24, 2020, and for

which early voting had already begun, to coincide with the later Statewide

General Primary on May 19, 2020. Secretary of State Raffensperger postpones

the Presidential Preference Primary, Ga. Sec’y of State (Mar. 14, 2020),

https://sos.ga.gov/index.php/elections/secretary_of_state_raffensperger_postp

ones_the_presidential_preference_primary. Later, on Thursday, April 9, 2020,

6On March 13, 2020, President Donald Trump issued a “Proclamation on Declaring a National
Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak.” 85 Fed. Reg.
15337 (March 13, 2020), available at https://www.whitehouse.gov/presidential-
actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-
covid-19-outbreak/.


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Secretary Raffensperger announced that, based on his authority under O.C.G.A. §

21-2-50.1, he was postponing the now-combined primary election until June 9,

2020. See Raffensperger Announces Postponement of Primary Election Until

June    9,   Ga.   Sec’y   of    State   (Apr.   9,   2020),    https://sos.ga.gov/

index.php/elections/raffensperger_announces_postponement_of_primary_elec

tion_until_june_9. Secretary Raffensperger further provided that “[a]bsentee

ballot applications for the upcoming primary election will continue to be accepted

and processed by counties even if the application said May 19.” Id.

       The Secretary of State took the additional step of mailing absentee ballot

applications to every registered, active voter. (Transcript of Telephone

Conference Proceedings held on April 14, 2020 before Judge Totenberg (“Tr.”), at

18:2–15, 23:1–6, Doc. 39; Affidavit of Kevin Rayburn ¶ 8.a, Doc. 51-1.) Counsel

for the Secretary indicated that absentee ballots would be sent out to eligible

voters who submitted applications 49 days prior to the election and would

continue to be sent out as received. (Tr. 6:3–11.)

       The absentee ballot applications which were sent by the Secretary of State

did not contain prepaid postage, and therefore voters were required to provide

postage to return the application if mailed to their local board of elections office.

(Aff. Rayburn ¶ 8.b.) “Alternatively, the voter could return the completed form

electronically to the county email address supplied on the absentee ballot request

form that was mailed out.” (Aff. Rayburn ¶ 8.b.) Defendants likewise do not

intend to send out absentee ballots with prepaid postage. (Aff. Rayburn ¶ 8.e.)

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(“As in every prior election, the voter is responsible for obtaining postage directly

or through a third party or the voter can return the sealed and signed envelope

directly to their county elections office.”).

       On April 15, 2020 “the State Election Board passed an emergency rule that

authorizes counties to establish secured absentee ballot drop boxes where voters

may drop off completed absentee ballots to a secured location without using a

stamp.” Ga. St. Election Bd., Emer. R. 183-1-14-0.8-.14, (Doc. 130-2.) Most

counties took advantage of this rule to set up at least one drop box, and many set

up several. (Doc. 130-3.) However, at least 62 counties did not. (Doc. 130-4.)

       Governor Kemp renewed the Public Health State of Emergency on April

30, and again on May 28, June 29, and July 31, 2020. Ga. Exec. Order No.

07.31.20.01, available at https://gov.georgia.gov/document/2020-executive-

order/07312001/download. However, Kemp did not extend the Statewide Shelter

in Place Order, and therefore it expired on April 30, 2020 at 11:59 pm.7 Over 1.2

million Georgians voted in person in the June 2020 election. See Special Election

Set for U.S. House of Representatives District 5, Ga. Sec’y of State,

https://sos.ga.gov/index.php/elections/special_election_set_for_us_house_of_

representatives_district_5 (last visited Aug. 3, 2020). Over 1.1 million voted by

absentee. Id.



7See Bluestein, Kemp to lift statewide shelter-in-place for most Georgians on Friday, Atl. J.-
Const. (Apr. 30, 2020), https://www.ajc.com/blog/politics/breaking-kemp-lift-statewide-
shelter-place-for-most-georgians-friday/JdXpKK1srCbzlPZc2y3XuJ/.


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      C.    Summary of Testimony

      At the April 24, 2020 video hearing, the Court heard testimony from a total

of two witnesses, one per side. The Court summarizes their testimony as follows.

            1.    Cliff Albright

      Plaintiffs’ witness was Cliff Albright, the Cofounder and Executive Director

of Plaintiff Black Voters Matter Fund (“BVMF”). (Tr. of Apr. 28, 2020 hearing at

32:17-18, Doc. 75.) Mr. Albright testified that the organization was founded in

2016, but that it began operations in earnest in 2017. The organization’s “mission

is to help build power primarily in predominantly black communities.” (Id. at

32:18-19.) BVMF does not have members in the ordinary sense, but rather works

with a variety of “partner” organizations to provide voter support for the

members of those organizations, phone banking, texting, social media, and in-

person voter education and engagement, and provides grants to such

organizations. (Id. at 40–41, 48–49.) These organizations range from individual

churches to specific NAACP chapters. (Id. at 62:14-20.)

      Mr. Albright testified that BVMF has a geographic focus on the rural south.

The organization assists with voter registration and advocates for increased

voting opportunities such as more polling places. Additionally, the organization

has assisted in arranging rides for voters who are unable to get to the polls on

their own. Mr. Albright testified that in rural communities, some voters may have

to travel as many as ten miles or more to get to a polling place. However, he

testified that BVMF has ceased assisting with voter transportation during the


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COVID-19 pandemic, as community organizers “shouldn’t have to put themselves

at risk.” (Id. at 35:10-15). Mr. Albright testified that postage is a real impediment

for the population he advocates for. He explained that many families do not have

postage at their home and have limited options for purchasing postage. (Id. at

39:21-24.) These families do not have internet or even credit cards to purchase

postage remotely.

       Mr. Albright testified that “if a group wanted to go out and buy 100

stamps, then . . . we provide many grants to our local partners so they can do

things like that, in addition to other things that they usually do for voter

mobilization.” (Id. at 42.) Mr. Albright does not intend to advise voters to submit

their absentee ballots without postage, as he is concerned that advising voters to

disregard the clear instructions on the ballot will confuse voters and undermine

BVMF’s credibility within the community. (Id. at 47:13-21.) He also expressed

concern that there could be no guarantee that the postal service’s policy will

actually be carried out county by county. (Id.)

      Mr. Albright submitted a supplemental declaration after the hearing. (Doc.

77-1.) In it, he expressed his expectation that 50% of BVMF’s Georgia-related

budget ($400,000) would have to be diverted toward responding to the postage

requirement. (Albright Supp. Decl. ¶ 1, 37.) Absent this requirement, he

explained that those funds would be used for “voter education and helping voters

overcome the other steps of voting by mail.” (Id. ¶ 2.)



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         BVMF has “two principal operations” — voter education and grants. (Id. ¶

6.) BVMF only has three staff members in Georgia, and Mr. Albright finds it more

efficient and respectful to provide funding to local organizations than to “swoop[]

in” and duplicate those organizations’ work. (Id. ¶ 15.) Before the pandemic,

BVMF focused its operations on in person voting. (Id. ¶ 18.) Now, it has pivoted

to voting by mail, and several grant recipients are exploring using grant money to

directly purchase and distribute postage. (Id. ¶ 25.) However, Mr. Albright is still

planning for the “not-unlikely possibility” that BVMF will have to distribute

stamps itself. (Id. ¶ 39.) Additionally, he anticipates BVMF having to redirect

time and money related to text messaging, phone banking, radio ads, and social

media ads to focus on the postage requirement. (Id. ¶¶ 44, 49, 51, 54.)

               2.    Kevin Rayburn

         Defendants’ sole witness was Kevin Rayburn, the Deputy Elections

Director and Deputy Elections Director for the Georgia Secretary of State. Mr.

Rayburn explained the process for absentee voters to request and submit their

ballots by mail and the steps that the Secretary of State has taken to secure

voting     during   COVID-19   pandemic,      including   mailing   absentee   ballot

applications to all active registered voters, which totaled 6.8 million, at a cost of

over $3 million. (Id. at 68:22-24, 90:3-7.) Furthermore, the State is providing

municipalities with sanitizing products for polling places and grants for some

measure of funding for the purchase of secure drop boxes and associated

electronic security if local election boards determine they wish to implement or

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acquire such. (Id. at 69.) Mr. Rayburn outlined the option for voters to drop

completed ballots in secure drop boxes in counties purchasing this equipment.

Each county board of elections has the option of establishing one or more drop

boxes which must be on county or municipal property with video security of the

box. (Id. at 67:7-11.) Boxes must be attached to a fixture or the ground with

appropriate signage and labeling. Ballots must be removed each day, as well as

simultaneously with the polls closing at 7 pm. (Id. at 67:12-15.) The county

election boards must publicize the locations of the boxes on their websites.

(116:15-19.)

       Mr. Rayburn explained the procedures related to sending mail with return

postage prepaid under the USPS’s Business Reply Mail program in the event the

Court were to require prepaid postage on return envelopes for all mail-in ballots.

Accounts must be pre-funded, and according to Mr. Rayburn, mail must be

addressed to the return address associated with the BRM account. Mr. Rayburn

testified that the Secretary of State’s office is capable of sorting and delivering

voter registration applications it receives to the various counties over the course

of the year, but does not have the staff to sort and deliver absentee ballots to the

counties for elections.8 If absentee ballots and applications were to be sent with



8Mr. Rayburn acknowledged that some election-related forms already contain prepaid postage.
For example, the confirmation notice to move voters from active to inactive status must be sent
by the secretary with return postage prepaid under the National Voter Registration Act, 52
U.S.C. §§ 20501 et seq. (formerly 42 U.S.C. §§ 1973gg et seq.). Furthermore, the recently passed
Georgia HB 316 (2019―20) requires that the final notice of inactivity status also be sent with


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return postage prepaid, Mr. Rayburn testified that each county would potentially

have to set up its own Business Reply Mail account at an initial cost of roughly

$1,000 and pre-fund it. (Id. at 99:14-17.) He estimated the cost of providing

prepaid postage for Plaintiffs’ requested relief at between $450,000 to $4.2

million, depending on voter participation. (Aff. Rayburn ¶ 17.)

       Finally, Mr. Rayburn testified that the number of absentee ballot

applications received as of the hearing was over “760,000 and still coming in

strong,” that the state has already “started mailing out absentee ballots on April

21st,” and that as of the hearing date, “approximately 220,000 have gone out.”

(Tr. at 84, 87.) As noted above, over 1.1 million people voted by mail in the June

2020 primary election.

       D.     Evidence of Impacts on Voters

       Plaintiffs offered declaration testimony in connection with the Motion for

Preliminary Injunction and supplemented with additional declarations following

the June 2020 primary.

              1.      Plaintiffs

       Plaintiff Megan Gordon, a resident of DeKalb County, is opposed to paying

for postage associated with absentee mail-in voting. (Gordon Decl., Doc. 2-5.)

Although Gordon currently has two postage stamps, she attests that she is

unwilling to put postage on mail-in absentee ballots and applications because she


return postage prepaid. The Secretary of State has additionally provided for prepaid postage for
“a small portion” of voter registration applications. (Tr. at 71:24-72:5, 73, Doc. 75.)


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believes Georgians should not have to spend money to vote. Gordon is also

unsure how much postage is needed to mail an absentee because she does not

have a postage scale.

      Gordon does not want to vote in person because of the dangers stemming

from the COVID-19 pandemic.         If she has the virus, she does not want to

endanger others’ lives, especially the elderly and those with chronic illness or

compromised immunity. If she does not have the virus, she does not want to

contract it, which would also increase the risk of harm to her own health and to

others.

      Gordon is experienced in voter engagement work, especially among lower-

income populations.      From her experience in civic engagement, Gordon has

learned that many voters, especially lower-income voters, do not have postage

stamps because people are increasingly relying on online transactions. It is also

her experience that many people in rural areas and lower-income people do not

have Internet access or credit cards, making it impossible for them to purchase

stamps online. In Gordon’s experience, many voters cannot afford $10 to buy a

book of stamps. She believes this is especially true while many people are out of

work as a result of the COVID-19 pandemic.         According to Gordon, voter

education becomes more difficult the more steps are required of voters – and

requiring voters to provide their own postage further complicates an already

confusing process.



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      Plaintiff Penelope Reid lives in Gwinnett County. (Reid Decl., Doc. 38.) She

grew up in a political family and preferred to vote in person, but since 2014 or

2016, she has had to vote absentee because of knee problems. She is also unsure

how much postage to apply for a ballot and does not have a postage scale. She

usually purchases stamps from the post office, but does not think she would be

able to do that safely now because of the pandemic. She does have stamps left

from before the pandemic, which she was able to use to vote, but she is starting to

run out of stamps now and she is not sure how she will get more. (Reid Supp.

Decl., Doc. 124-7.)

             2.       Initial Voter Affidavits

      On April 10, the Court entered an Order permitting Plaintiffs the

opportunity to submit declarations from voters in connection with to the

preliminary injunction hearing to substantiate Plaintiffs’ claims. Plaintiffs

thereafter submitted declarations from 26 Georgia voters on a rolling basis from

April 13 to April 23.

      Of these 26 declarations, 15 are from voters who are at a higher risk of

developing severe symptoms from COVID-19 (or live with someone who is high

risk) because of age or an underlying medical condition or compromised

immunity. (See Reid Decl.; Solomon Decl.; Burke Decl.; Walker Decl.; Walbert

Decl.; Kite Decl.; Bryant Decl.; Winn Decl.; Bacot Decl.; Taylor Decl.; Billingsley

Decl.’ Kendrick Decl.; Kirslis Decl.; P. Robinson Decl.; C. Robinson.) Nine voters

say they do not currently have stamps.        (See Mahmood Decl.; Burke Decl.;

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Walbert Decl.; Stewart Decl.) Four voters attest that it would be a financial

hardship for them to purchase postage stamps for the sole purpose of voting by

mail. (See Kite Decl.; Bryant Decl.; Evans Decl.; Wille Decl.) But one of these

voters, Savanah Kite, currently has stamps. (See Kite Decl., Doc. 25.) Twelve of

the 26 declarants, already possess stamps or have purchased them online, and do

not profess any financial burden in affording postage. Nearly every voter who

offered a declaration indicated that they do not know how much postage to affix

on an absentee ballot because they do not own a postage scale.

      Three declarants, Delinda Bryant, Anna Wille, and Jerald Luster, state that

they do not have a means of reliable transportation to go out to purchase postage

stamps. (See Bryant Decl.; Wille Decl.; Luster Decl.) Luster, however, was able to

purchase stamps online. (Luster Decl., Doc. 60.)

      Delinda Bryant, a 63 year old Dougherty County voter, was unsure whether

she will be able to vote because she did not have any stamps and the $10 cost for

a book of stamps would be a hardship. (Bryant Decl., Doc. 24.) Bryant, who

suffered a stroke in 2007, barely receives enough money in disability and

retirement payments to afford to pay her mortgage, utilities, and food. She

receives $16 in Supplemental Nutrition Assistance Program benefits. Although

she owns a car, she cannot drive because she cannot afford to pay for a needed

transmission repair.   Bryant also attests that she does not think she can get

stamps because everything seems to be closed because the coronavirus has

severely impacted Dougherty County, an original hotspot of the virus in Georgia.

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Bryan also attests that based on her participation with civic engagement and a

voter organization in 2018, she knows that members of her community have

difficulty with voting by mail. Bryant attests that her community has a lot of

poverty and illiteracy and further, that a number of elderly people she has worked

with do not have Internet.9

       Voting is important to Richard Evans, an African American DeKalb County

resident, who has been homeless for over two years. (Evans Decl., Doc. 65.)

Evans has always previously voted in person, never by mail. Although he is

homeless, Evans is employed, has a phone with email access and a car. Evans is

able to submit his ballot application by email, but he does not have stamps for

mailing in his voted absentee ballot. For Evans, a $10 book of stamps is half a

tank of gas, enough for two days, traveling to work and other places. Ten dollars

is also the cost of two meals. While he would not go hungry, it would be a

hardship to use this money for postage instead of necessities like gas and food.

       Marilyn Winn, is an African American, soon to be 69 years old, who is at

greater risk from COVID-19 because of her age. (Winn Decl., Doc. 12.) Winn

attests that she would prefer to vote in person. She does not trust the mail

system because it has historically been less reliable or non-functional in

communities of color. Winn will, however, vote by mail in upcoming primary

because of the pandemic, though she hopes to vote in person for future elections.


9 As will be discussed below, Ms. Bryant ended up having to vote in person in the June 2020
election.


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Having never voted by mail, Winn finds the process to be complicated. She has

already mailed in her ballot application.      She used 2 stamps because the

application was printed on card stock and she had no idea how much postage was

necessary and she does not own a postage scale. While Winn has postage stamps,

she uses them to mail clemency letters on behalf of incarcerated women and

every stamp she uses for voting is one less stamp she has for this work. She does

not think any voter should have to buy their own postage – she will do it but

should not have to.        Winn attests that the pandemic could affect her

economically. She is the executive director of a small nonprofit of five staff.

Funding will likely go down as donors give less. Winn is very fearful of her staff

losing their jobs. Winn currently has the money to spend $10 for a book of

stamps, but it is not an insignificant amount of money where there is a real

possibility she may lose her job this year.

      Katie Vinson Kendrick is a 71 year old resident of Peach County. (Kendrick

Decl., Doc. 56.)     She usually votes in person but is at a higher risk of

complications from the COVID-19 virus because of her underlying conditions,

including prior cancer and diabetes. Kendrick runs a nonprofit with a focus on

community engagement in Crawford, Macon, Peach, and Taylor counties.

(Kendrick Decl., Doc. 56.) Her organization plans “get out the vote” efforts, “get

out the census,” voter registration, and voter education activities. One focus of

her nonprofit now is helping residents vote absentee during the pandemic.

Kendrick attests that Peach is a rural county without many options for public

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transportation. During the pandemic, ride share would be dangerous for voting

in person.    Voting by mail is the only option that currently makes sense.

According to Kendrick, there are a lot of people in Peach County who would have

a hard time paying $10 for a book of stamps. She avers that it is even more

difficult to obtain stamps in Peach County because of the pandemic. She is

concerned about voters being able to return their ballots and her organization is

struggling to figure out how to make stamps available to everyone. Kendrick

herself has stamps at home, but not a scale, so she is not sure how many to use.

She does not know anyone or any business that has a postage scale.

      Two voters, Mahmood and Wayman Stewart, are currently out of town and

voting by mail is their only option. (Stewart Decl., Doc. 64) (attesting that he is

out of state caring for a sick relative, and will either have to buy postage online or

at a post office with a self-serve kiosk to avoid or minimize COVID-19 exposure);

(see also Mahmood Decl., Doc. 33.) Ahmed Mahmood is a third year medical

student who maintains residency in Cobb County, but is currently doing clinical

rotations in Broward County, Florida. (Mahmood Decl., Doc. 33.) As a result, he

is unable to vote in person in the June 9 primary elections in Georgia unless he

were to take the 10-hour road trip or risk exposure to COVID 19 on a flight to

Atlanta. Mahmood attests that he does not have access to stamps, and that the

process of obtaining postage for an absentee ballot is more difficult now because

of the COVID-19 pandemic. He is isolating himself in compliance with the State

of Florida and Broward County stay at home orders and only leaves the house for

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essentials. Mahmood has access to the Internet but does not address whether he

can afford to purchase stamps online.

      At the April 24 hearing, the Secretary presented evidence that several of

the voters who submitted affidavits were able to successfully vote absentee.

(Sec’y’s Hrg. Ex. 1-7, Doc. 70.)

             3.     Post-June 2020 Election Voter Affidavits

      The Court previously “expressed concern about ruling on the important

questions presented by Plaintiffs’ Motion for Preliminary Injunction before the

June 2020 Primary play[ed] out.” (Ord. of May 15, 2020 at 3, Doc. 101.) The

Court is cognizant of Justice Stevens’s suggestion in his Purcell concurrence that,

where feasible, courts may consider allowing “election[s] to proceed without

enjoining the statutory provisions at issue” to provide “a better record on which

to judge their constitutionality . . . on the basis of historical facts rather than

speculation.” Purcell v. Gonzalez, 549 U.S. 1, 6 (2006) (Stevens, J., concurring).

At the May 12, 2020 teleconference on Plaintiffs’ request for a temporary

restraining order, the Court explained that before reaching Plaintiffs’ claims, it

“would rather also have some evidence in the June election” before reaching the

merits of Plaintiffs’ constitutional claims. (Tr. of May 12, 2020 Conf. at 12:4–5,

Doc. 95). Plaintiffs heeded the Court’s advice and on June 30 submitted




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supplemental evidence from voters recounting their voting experience in the

June 2020 primary election.10

       Delinda Bryant had previously submitted testimony that she was

concerned about her ability to obtain a stamp to vote by mail. See supra. Bryant

was not able to vote absentee because “[g]etting that stamp was just too hard for

[her] in terms of the cost of the stamp and being able to go out to the post office

to get the stamp.” (Bryant Supp. Decl. ¶ 2, Doc. 124-1.) Instead, she voted in

person, forcing her to be exposed to the virus. (Id. ¶ 8.)

       Several other voters expressed concern about their ability to obtain stamps

to vote. Christine Legnon wanted to vote absentee, but did not have stamps, so

she voted in person. (E.g. Legnon Decl ¶ 4–5, Doc. 124-2.) She ended up waiting

four hours and 20 minutes to vote, and during that time she was concerned that

poll workers were not enforcing social distancing. (Id. ¶¶ 9, 11.) Pablo Bassols

never received his absentee ballot, but even if he had, he did not have any stamps

at home. (Bassols Decl. ¶¶ 4, 5, 10, Doc. 124-8.) Al Lewis is disabled and was able

to vote absentee, but relies on a home health aide to purchase stamps and would

have a difficult time obtaining them otherwise. (Lewis Decl. ¶¶ 3, 10, 11, Doc. 124-

28.)



10The Secretary’s arguments that these affidavits are improperly before the Court because the
Court has already ruled on Plaintiffs’ Motion for Preliminary Injunction as to the prior elections
and that Plaintiffs should have renewed the motion or that the supplemental voter affidavits
should have been attached to the original motion (filed long before the conduct described in the
voter affidavits even occurred) are baseless and overruled. (See generally Doc. 129.)


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      Fantasia Smith did not apply for an absentee ballot because she did not

“have stamps at home.” (Smith Decl. ¶ 3, Doc 124-6.) She does not indicate in her

declaration that she could not afford the postage or that obtaining postage would

have been burdensome in light of the pandemic. When Smith attempted to vote

in person during the June 9 primary, she was not permitted to vote due to an

address discrepancy after waiting in line on election day for three hours. (Id. ¶ 8.)

      Several voters who applied for absentee ballots did not receive them in

time to vote. (Bassols Decl. ¶ 5, Doc. 124-8; Kuttig Decl. ¶ 7, Doc. 124-9; Moore

Decl. ¶ 13-14, Doc. 124-10; Burke Supp. Decl. ¶ 4, Doc. 124-11; Waddoups Decl. ¶

4, Doc. 124-13; Jackson Decl. ¶ 11, Doc. 124-14; I. Hudson Decl. ¶ 3, Doc. 124-15;

Parikh Decl. ¶ 7, Doc. 124-17; Aguillard Decl. ¶ 9, Doc. 124-19; K. Hudson Decl. ¶

15, Doc. 124-20; Kennedy Decl. ¶ 8, Doc. 124-21; Thomas Decl. ¶ 7, Doc. 124-29.)

Other voters who voted in person faced unreasonable wait times, (Bryant Supp.

Decl. ¶ 8, Doc. 124-1; Legnon Decl. ¶ 11, Doc. 124-2; Junior Decl. ¶ 7, Doc. 124-3;

Smith Decl. ¶ 8, Doc. 124-6; Bassols Decl. ¶ 9, Doc. 124-8; Wise Decl. ¶ 6, Doc.

124-12; Jackson Decl. ¶ 18, Doc. 124-14; I. Hudson Decl. ¶ 6, Doc. 124-15;

Enriquez Decl. ¶ 8, Doc. 124-16; Parikh Decl. ¶ 9, Doc. 124-17; Pruitt Decl. ¶ 7.

Doc. 124-18), or felt unnecessarily exposed to the virus (Burke Supp. Decl. ¶ 11,

Doc. 124-11; Bassols Decl. ¶ 4, Doc. 124-8.) One voter described the situation

inside a polling location as a “nightmare,” noting that “there was no way they

could fit so many people and maintain six feet apart.” (Jackson Decl. ¶ 15, Doc.

124-14.)

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       The Secretary responds that “[f]ourteen of the declarations attached to the

Supplemental brief do not even mention stamps or postage,” (Resp. to Supp. Br.

at 10, Doc. 129, citing Docs. 124-3, 124-11, 124-12, 124-13, 124-14, 124-15, 124-17,

124-19, 124-20, 124-21, 124-24, 124-25, 124-26, 124-27), and that of the

“remaining fifteen declarations . . . not a single one claimed that an inability to

obtain or afford stamps prevented them from going to the polls or casting a ballot

in the June 2020 Primary Election.” (Id., citing Docs. 124-1, 124-2, 124-4, 124-5,

124-6, 124-7, 124-8, 124-9, 124-10, 124-16, 124-18, 124-22, 124-23, 124-28, 124-

29.)

       E.    Plaintiffs’ Proffered Expert Evidence

       Plaintiffs have submitted, among other evidence, the declaration of Dr.

Arthur L. Reingold (Doc. 57-1) and the Report of Dr. Matthew A. Barreto (Doc.

124-35). Mindful of the fact that this is the preliminary injunction stage and that

Defendants have not had a full opportunity to conduct depositions, employ

rebuttal experts, and potentially seek exclusion of the evidence under Federal

Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

U.S. 579 (1993), the Court considers these materials only to the extent

“appropriate given the character and objectives of the injunctive proceeding.”

Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995)

(quoting Asseo v. Pan American Grain Co., 805 F.2d 23, 26 (1st Cir. 1986)).




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            1.    Dr. Reingold

      Dr. Reingold is the “Division Head of Epidemiology and Biostatistics at the

University of California, Berkeley, School of Public Health “and has “worked on

the prevention and control of infectious diseases in both the United States,

including eight years at the US Centers for Disease Control and Prevention

(‘CDC’).” (Decl. Reingold ¶ 1, Doc. 57-1.) Dr. Reingold provided background on

the COVID-19 as follows:

       SARS-CoV-2 is a novel coronavirus that causes Coronavirus Disease
      2019 (COVID-19). The virus is a respiratory virus with patients
      typically presenting with acute respiratory signs and symptoms,
      which can escalate in some patients to respiratory failure and other
      serious, life-threatening complications.

      ...

      Due to the respiratory impacts of the disease, individuals may need
      to be put on oxygen, and in severe cases, patients may need to be
      intubated and put on a ventilator. People of every age can and have
      contracted COVID-19, including severe cases, but geriatric patients
      are at the greatest risk of severe cases, long-term impairment, and
      death. Likewise, those with immunologic conditions and with other
      pre-existing conditions, such as hypertension, certain heart
      conditions, lung diseases (e.g., asthma, COPD), diabetes mellitus,
      obesity, and chronic kidney disease, are at high risk of a life-
      threatening COVID-19 illness. Information available to date shows
      that, if infected with the SARS-CoV-2 virus, racial and ethnic
      minority populations, especially African-Americans, are at a
      substantially elevated risk of developing life-threatening COVID-19
      illnesses and to die of COVID-19.

(Id. ¶ 7.) Dr. Reingold also described how COVID-19 spreads. He explained that

the virus “is readily spread through respiratory transmission” including “droplet

transmission; that is, when an infected individual speaks, coughs, sneezes, and

the like, they expel droplets which can transmit the virus to others in their

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proximity.” (Id. ¶ 8.) At the time of his declaration (April 21, 2020), he stated that

it “was not yet determined . . . whether the virus is aerosolized, such that tiny

droplets containing the virus remain in the air and can be inhaled by others who

come into contact with that air.” (Id.) He also noted that “[t]he virus is also

known to be spread through the touching of contaminated surfaces.” (Id.)

       According to Dr. Reingold, “the only ways to limit [the virus’s] spread are

self-isolation, social distancing [i.e., maintaining six feet of distance], frequent

handwashing, and disinfecting surfaces.” (Id.)11 Dr. Reingold opined, therefore,

that voting in person at a polling location imposed a risk of virus transmission:

       Polling locations are a prime area for increased transmission of
       SARS-CoV-2 due to the close proximity of a large number of
       individuals — voters, observers, poll workers — in a limited space. A
       polling location also has a large number of common surfaces that
       multiple people touch: the doors, the poll books to sign in, pens,
       voting booths, and voting machines. Due to the transmission of the
       virus via contaminated environmental surfaces, polling locations are
       highly likely to cause increased infection.

(Id. ¶ 17.)12 He thus concludes that widespread vote-by-mail or absentee balloting

would be a much safer option for public health in light of COVID-19.” (Id.)




11 The CDC has also recommended wearing masks to slow the spread of COVID-19. Use of Masks
to Help Slow the Spread of COVID-19, CDC.gov (June 28, 2020), https://www.cdc.gov/
coronavirus/2019-ncov/prevent-getting-sick/diy-cloth-face-coverings.html.
12 The Court recognizes that scientific assessment of how COVID-19 spreads has developed over

the last several months, and the current understanding focuses more on the dangers that dwell
in the immediate area that an infected individual has occupied, due to potential aerosolization of
respiratory droplets, as opposed to surface contact, though surface contact still remains an issue.
In that context, polling booth areas, used serially by one voter after the next, as well as voting
lines, would still pose serious potential infection risks for voters. See CDC Recommendations,
Considerations for Election Polling Locations and Voters, (August 10, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-locations.html.


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             2.     Dr. Barreto

      Dr. Barreto earned a Ph.D. in Political Science in 2005 and since 2015 has

been “a Professor of Political Science and Chicana/o Studies at the University of

California, Los Angeles (‘UCLA’), and the faculty director of the UCLA Voting

Rights Project, a joint program of the Division of Social Sciences, School of Public

Affairs, and School of Law.” (Barreto Decl. ¶¶ 1, 2, 4, Doc. 124-35.)

      Dr. Barreto was retained by Plaintiffs “to evaluate whether there are

burdens that voters in Georgia would possibly face if required to obtain and pay

for postage on their absentee ballots (vote-by-mail).” (Id. ¶ 9.) He began his

analysis by conducting a comprehensive literature review and demographic

analysis of Georgia. (Id.) He then “conducted an analysis of the statewide voter

file for Georgia, geocoding each voter’s address and matching it against the

nearest postal facility or location that sells stamps.” (Id.) The purpose of this

analysis was “to determine what share of voters reside in ‘postal deserts’ using

similar methodology developed by the U.S. Department of Agriculture to identify

‘food deserts.’ (Id.) (footnote omitted).

      Dr. Barreto concluded that “the requirement that voters purchase their

own postage stamps” (“Postage Requirement”) “presents a burden on voters . . .

especially . . . low-income and minority voters and those in rural geographies.”

(Id. ¶ 11.) He concluded “that millions of Georgia voters are in at-risk categories

of being burdened” by the Postage Requirement based on several factors:

      a. the decline in mail familiarity and usage;

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      b. high levels of poverty, low wages or inability to meet self-
      sufficiency;

      c. no or limited access to a personal vehicle or reliable
      transportation;

      d. language barriers for voters coupled with inadequate service at
      post office locations for non-English speakers;

      e. limited access to computer and internet to purchase stamps
      online;

      f. high rates of being unbanked;

      g. population with many high risk factors for COVID-19;

(Id. ¶ 12.) He concluded that “40% of voters (2.78 million) in Georgia have low-

access to postal services, and 15% of all voters (1.04 million), face severe isolation

from a postal retailer,” which he describes as “living in a ‘postal desert,’” a

condition “highest for Latino[] (17%) and Black[] (28%)” voters, as compared to

White voters (8%), a difference that he found statistically significant in regression

analysis. (Id. ¶¶ 13, 81.) These data were based on a definition of “postal desert”

as follows: those voters who “1) live more than 0.5 miles away from a postal

service in an urban area or 10 miles away from a postal service in a rural area and

2) live in a census tract with a poverty rate above 20%.” (Id. ¶ 74.)

      Even for those voters who are able to make it to stores that may sell

postage, Dr. Barreto identified several issues facing those voters, such as

disparities in price, payment method, and availability (id. ¶ 86, 89–90, 92), and

most notably COVID-19 exposure (id. ¶ 94 et seq.).




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       Dr. Barreto identified several burdens to purchasing stamps online as an

alternative. First, to make any online purchase, a person needs an internet

connection and a credit card or bank account. (Id. ¶ 42.) A person also needs

literacy in English, Spanish, or Chinese, as well as computer literacy necessary to

obtain an email address. (Id.) Next, a person needs $7.90, which is the minimum

purchase price for the smallest book of stamps (12), taking into account added

fees. (Id. ¶ 43.)

       The Secretary contends that Dr. Barreto does not discuss the fact that the

USPS will purportedly deliver election mail without postage, which the Secretary

argues renders the report “entirely irrelevant and unpersuasive.” (Resp. to Supp.

Br. at 11, Doc. 129.)

II.    Standing

       Defendants challenge Plaintiffs’ standing to pursue the requested relief.

“In essence the question of standing is whether the litigant is entitled to have the

court decide the merits of the dispute or of particular issues.” Warth v. Seldin,

422 U.S. 490, 498 (1975).       Plaintiffs must demonstrate three elements to

establish standing under Article III. First, Plaintiffs must have suffered, or must

face an imminent and not merely hypothetical prospect of suffering, an invasion

of a legally protected interest resulting in a “concrete and particularized” injury.

United States v. Hays, 515 U.S. 737, 742-43 (1995) (quoting Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560-61 (1992)); Common Cause/Georgia v. Billups,

554 F.3d 1340,1349 (11th Cir. 2009) (quoting Fla. State Conference of NAACP v.

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Browning, 522 F.3d 1153, 1159 (11th Cir. 2008)). Second, the injury must have

been caused by Defendant’s actions. Hays, 515 U.S. at 742-43; Billups, 554 F.3d

at 1349. Third, Plaintiffs’ injury, or threat of injury, must likely be redressed by

this Court decision. Hays, 515 U.S. at 743; Billups, 554 F.3d at 1349. A plaintiff

must demonstrate standing “for each claim he seeks to press and for each form of

relief that is sought.” Town of Chester, N.Y. v. Laroe Estates, Inc., 137 S. Ct.

1645, 1650 (2017) (quoting Davis v. Federal Election Comm’n, 554 U.S. 724, 734

(2008)).

      As the Supreme Court explained many decades ago, “the standing question

is whether the plaintiff has ‘alleged such a personal stake in the outcome of the

controversy’ as to warrant his invocation of federal-court jurisdiction and to

justify exercise of the court’s remedial powers on his behalf.” Warth v. Seldin,

422 U.S. at 498–99 (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)). The

court’s jurisdiction therefore “can be invoked only when the plaintiff himself has

suffered ‘some threatened or actual injury resulting from the putatively illegal

action.’” Warth v. Seldin, 422 U.S. at 499 (quoting Linda R.S. v. Richard D., 410

U.S. 614, 617 (1973)). The question of whether the Plaintiffs ultimately will

prevail on the merits of their asserted claims is not the question before the Court

in assessing standing. Id. at 500-501 (“Although standing in no way depends on

the merits of the plaintiff’s contention that particular conduct is illegal, it often

turns on the nature and source of the claim asserted.”) (internal citation

omitted); Wooden v. Bd. of Regents of Univ. Sys. of Georgia, 247 F.3d 1262,

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1280 (11th Cir. 2001) (“A finding that plaintiff has standing simply means that

the plaintiff is entitled to ‘walk through the courthouse door’ and raise his

grievance before a federal court; it is a threshold determination that is

conceptually distinct from whether the plaintiff is entitled to prevail on the merits

. . . we cannot read the Court’s jurisprudence as conflating the standing inquiry

with resolution of the merits of the plaintiff’s attack on race-conscious

governmental decision-making.”).

      The Supreme Court has “long recognized that a person’s right to vote is

‘individual and personal in nature.’” Gill, 138 S.Ct. at 1929 (quoting Reynolds v.

Sims, 377 U.S. 533, 561 (1964)). “Thus, ‘voters who allege facts showing

disadvantage to themselves as individuals have standing to sue’ to remedy that

disadvantage.” Id. (quoting Baker v. Carr, 369 U.S. 186, 206 (1962)). The

Eleventh Circuit recently held in Jacobson v. Florida Sec’y of State that although

“[v]oters have no judicially enforceable interest in the outcome of an election,”

they do “have an interest in their ability to vote and in their vote being given the

same weight as any other.” 957 F.3d 1193, 1202 (11th Cir. 2020) (emphasis in

original). “A plaintiff need not have the franchise wholly denied to suffer injury.

Any concrete, particularized, non-hypothetical injury to a legally protected

interest is sufficient.” Common Cause/Georgia v. Billups, 554 F.3d 1340, 1351–

52 (11th Cir. 2009). “Each provision of a[n election] code, ‘whether it governs the

registration and qualifications of voters, the selection and eligibility of

candidates, or the voting process itself, inevitably affects — at least to some

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degree — the individual’s right to vote and his right to associate with others for

political ends.’ ” Burdick v. Takushi, 504 U.S. 428, 433 (1992) (quoting Anderson

v. Celebrezze, 460 U.S. 780, 788 (1983)); see also id. at 434 (“There is no doubt

that the Hawaii election laws, like all election regulations, have an impact on the

right to vote.” (emphasis added)).

      At the pleading stage, the plaintiff is only required to provide “general

factual allegations of injury.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561

(1992). “[H]owever, those allegations must nevertheless contain sufficient detail

for the Court to determine that plaintiffs ‘have made factual averments sufficient,

if true, to demonstrate injury in fact.’” Summers, 555 U.S. at 493 (quoting

Havens Realty Corp. v. Coleman, 455 U.S. 363, 378 (1982) (“extreme generality”

of allegations insufficient to demonstrate standing)). In ruling on a motion to

dismiss for lack of standing, the court must accept as true all material allegations

of the complaint and construe them in the Plaintiffs’ favor. Warth, 422 U.S. at

501-02 (citations omitted). At the same time, it is within the court’s power to

consider by affidavits further particularized allegations of fact deemed supportive

of plaintiff’s standing to determine whether the plaintiff’s standing adequately

appears from all materials of record. Id. Here, the Court is able to refer both to

the allegations of Plaintiffs’ Amended Complaint and the declarations submitted

by Plaintiffs in connection with their Motion for Preliminary Injunction.




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      A.     Organizational Standing of Plaintiff Black Voters Matter
             Fund

      Plaintiff BVMF asserts it has organizational standing. (Am. Compl., Doc.

88 ¶ 13; Resp. to Def. Raffensperger’s MTD, Doc. 84 at 28.) BVMF does not

assert associational standing, as it has no members. (Resp. to Def.

Raffensperger’s MTD, Doc. 84 at 28; Tr. of Apr. 28, 2020 Hg., Doc. 75 at 49:1-4.)

      It is well established that an organization can establish standing to sue on

its own behalf where it can show the defendant’s acts resulted in an impediment

to the organization’s mission or diversion of its resources. Havens Realty Corp.

v. Coleman, 455 U.S. 363, 379 (1982) (holding that an organization has standing

to sue on its own behalf if the defendant’s illegal acts impair its ability to engage

in its projects by forcing the organization to divert resources to counteract those

illegal acts); Billups, 554 F.3d at 1350 (holding that NAACP established an injury

sufficient to confer standing to challenge voter ID statute where evidence showed

that the NAACP “uses [its] resources to maximize the ability to mobilize voters

and educate voters and register voters,” and that the statute would impact the

NAACP’s voter registration efforts “because it would have to divert volunteers

and resources from “getting [voters] to the polls” to helping them obtain

acceptable photo identification”); Browning, 522 F.3d at 1158, 1164-66 (holding

that organizations had standing to challenge a voting requirement in Florida

because the organizations “reasonably anticipate[d] that they [would] have to

divert personnel and time to educating volunteers and voters on compliance”


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with the new voting requirements “and to resolving the problem of voters left off

the registration rolls on election day”).

      Defendant Raffensperger asserts that Plaintiff BVMF cannot demonstrate

organizational standing under a diversion of resources theory by claiming “it will

have to divert resources from voter education and ‘other efforts to facilitate

voting by mail,’ and towards making sure that voters know about postage when

mailing an absentee ballot or absentee ballot application” because “[t]his is not

diversion: educating voters about how to vote is voter education.” (Def.’s Br.

Supp. MTD, Doc. 67-1 at 15, citing Pls.’ Am. Compl.) Defendant Raffensperger

implies that to establish this type of organizational standing, BVMF would have

to allege the cessation of an established purpose of the organization and a

redirection of resources to address the challenged action. (Id.)      The DeKalb

Defendants similarly assert that BVMF’s allegation of harm is conclusory because

it has failed to specify how it has diverted its resources and that it must show

“more than simply a setback to the organization’s abstract social interests. . . .”

(Doc. 80 at 10) (quoting Havens Realty Corp. v. Coleman, 455 U.S. 363, 379

(1982)).

      According the Plaintiffs’ Amended Complaint, BVMF is a non-partisan

civic organization “whose goal is to increase power in communities of color [that]

often face barriers to voting that other communities do not.” (Am. Compl., Doc.

88 ¶ 13.)   BVMF’s work therefore focuses on “removing those barriers” and

“increasing voter registration and turnout, advocating for policies to expand

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voting rights and access” in communities in the “rural Black Belt of Georgia”

which “tend to be the most neglected, and have higher rates of poverty than other

places.” (Id.) Plaintiff BVMF alleges that it “must divert scarce resources away

from voter education and away from other efforts to facilitate voting by mail,

towards making sure that voters know about the postage requirement and how to

obtain it especially for those with less resources.” (Id.)

      In addition to the complaint allegations, BVMF has offered two

declarations from its Co-Founder and Executive Director, Cliff Albright in

connection with its pending Motion for Preliminary Injunction.        In the first

declaration, Mr. Albright explains in further detail the work of BVMF as

including efforts to increase voter registration and turnout; advocating for

policies to expand voting rights and access, such as expanded early voting;

resisting voter ID; re-entry restoration of rights and strengthening the Voting

Rights Act; and advocating for policies that intersect with race, gender, economic

and other aspects of equity. (Albright Decl. ¶ 2, Doc. 2-2.) Due to the COVID-19

pandemic and the expected increase in the use of mail-in absentee voting,

Albright attests that BVMF’s “efforts will now focus almost exclusively on

educating voters about the mail-in absentee ballot and application process, and

helping voters cast mail-in absentee ballots this year.” (Id. ¶ 4.) BVMF intends

to accomplish this new effort by “start[ing] a texting and phone banking initiative

to reach out to registered voters who are wrongfully considered ‘inactive’ by the



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State of Georgia,”13 and to “educate voters about the mail-in absentee voting

process, including how to obtain an absentee ballot application, how to fill it out,

how to fill out the absentee ballot, and how to get postage stamps.” (Id. ¶¶ 5-6.)

According to Albright, “[m]any voters, especially lower-income voters, do not

have postage stamps because they do not use them, or cannot afford to buy a

book of stamps just for elections” and the work of assisting voters to obtain

postage stamps “can be complicated and time-consuming because some voters do

not have Internet access or credit cards to purchase them online,” and many

“cannot even travel to a post office or other public place because they do not have

cars, there are no ride-sharing programs or public transportation in large parts of

rural Georgia.” (Id. ¶¶ 7-8.) Thus, Albright attests that dealing with the postage

stamp issue requires a lot of time and resources, “impeding BVMF’s mission to

increase voter participation in rural Black communities.” (Id. ¶ 10.) As a result,

BVMF is diverting resources to the postage stamp issue that could be used for the

organization’s other activities including other issues related to helping voters

navigate the absentee ballot process. (Id. ¶ 11.) Based on his experience, Albright

expects the organization will receive an increase in the number of calls in

connection with this election to deal with the postage requirement for submitting

absentee ballots. (Id. ¶ 14.)



13Albright explained that this first step was necessary because although the Secretary of State
sent absentee ballot applications to registered “active” voters for the June primary, they did not
send them to “inactive” voters. (Id. ¶ 5.)


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      As noted above, following the hearing on their preliminary injunction

motion, Plaintiffs submitted a supplemental declaration from Albright to more

specifically address the organization’s expected diversion of resources to address

Plaintiffs’ claims in this case. In his supplemental declaration, Albright attests

that he anticipates that $200,000, or roughly 50% of its budget for activities in

Georgia, will be diverted towards responding to the postage stamp requirement

that would otherwise have been used for voter education and support for voting

by mail in general, as opposed to addressing the postage requirement. (Albright

Supp. Decl., Doc. 77 ¶ 1.)

      According to Albright’s Supplemental Declaration, BVMF has two principal

operations relevant to this lawsuit: first, it “focuses on voter education,

encouraging voter turnout by providing voting instructions and getting Black

voters excited about voting,” and second, it “provides grants to up to 40 partner

organizations, who themselves engage in voter education and also on-the-ground

efforts to increase voter participation.” (Id. ¶ 6.) BVMF only has three staff

members focused on Georgia. (Id. ¶ 15.)

      Albright explains that before the onset of the COVID-19 pandemic, BVMF’s

primary focus was on in-person voting, including “voter education that informs

voters about voter registration, election dates, how to find their polling place,

how to get to a polling place if the voter has no realistic transportation options,

instructions on how to vote in person (such as having photo identification, using

the machine, etc.),” and providing grants to partner organizations that engage in

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work like “arranging rides to the polls, door by door canvassing (to educate voters

on how to vote in-person and encourage them to vote), Election Day canvassing

that helps bring people to the polls on Election Day.” (Id. ¶¶ 18-19.)

      With an expected drop in the number of people willing to expose

themselves to in-person voting during the pandemic, BVMF’s plans have changed

to focus all of its resources on helping and encouraging people to vote by mail.

(Id. ¶¶ 21-22.)    According to Albright, the postage stamp requirement has

“quickly emerged as a major roadblock” to BVMF’s efforts to increase voter

participation through the vote by mail process.        (Id. ¶ 24.)   BVMF partner

organizations are now using their grant funds from BVMF to engage in direct

postage stamp distribution in Valdosta/Lowndes County, Macon-Bibb County,

and Peach County.       (Id. ¶¶ 25-26.)       Albright attests that if the postage

requirement is not enjoined, BVMF anticipates that resources that would be

focused on assisting voters with obtaining an absentee ballot application, and

properly completing absentee ballot applications, absentee ballots, and ballot

return envelopes will be reduced and diverted toward assisting voters with

submitting absentee ballot applications by email, or if by mail, with obtaining

postage, and assisting voters with obtaining postage for mailing in their

completed ballots in light of specific obstacles facing certain voters which include,

COVID-19 exposure, physical disabilities, location related to post office, lack of

transportation, lack of internet access to purchase stamps online, and economic

hardships associated with cost of necessary postage for each ballot and each

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election. (Id. ¶¶ 33-35.)    These efforts will include devoting $200,000 in

resources to assist partner organizations with funding direct stamp distribution

programs, text messaging, phone banks, and radio and social media ads to

educate 400,000 black voters in rural Georgia specifically related to the postage

issue. (Id. ¶¶ 37-54.)

      The Court finds that Plaintiff BVMF’s allegations and evidence are

sufficient to establish injury to the organization under a diversion of resources

theory. Plaintiff BVMF has offered evidence that absent an injunction requiring

the Secretary of State to provide pre-paid postage for mail in absentee ballots,

BVMF’s efforts to increase voting by mail in low-income communities of color

has likely been adversely affected and will continue to be adversely affected.

Moreover, BVMF has made a sufficient showing of an imminent concrete injury

based on the evidence that it has already and reasonably anticipates having to

further divert resources to assisting socially and economically vulnerable voters

obtain postage (or find transportation to deposit absentee ballots in available

drop boxes) to avoid having to expose themselves to the potential health dangers

associated with in-person voting. See Browning, 522 F.3d at 1161 (“Plaintiffs

have averred that they intend to increase voter registration efforts and anticipate

increased registration applications ahead of the upcoming presidential election.

This is sufficient to meet the immediacy requirement.”) Even if Mr. Albright’s

financial estimates are considered exaggerated by Defendant, the Eleventh

Circuit has held that “an organization suffers an injury in fact when a statute

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compels it to divert more resources to accomplishing its goals. . . . [T]he fact that

the added cost has not been estimated and may be slight does not affect standing,

which requires only a minimal showing of injury.” Id. at 1165 (internal citations

and punctuation omitted).

      It is not required that a plaintiff-organization be forced to completely cease

an activity to establish standing, as Defendants argue, rather it is enough for the

organization to demonstrate that such activities have been substantially curtailed

or significantly impacted by the challenged action. See Havens Realty Corp. v.

Coleman, 455 U.S. at 379 (“If, as broadly alleged, petitioners’ steering practices

have perceptibly impaired HOME’s ability to provide counseling and referral

services for low-and moderate-income homeseekers, there can be no question

that the organization has suffered injury in fact. Such concrete and demonstrable

injury to the organization’s activities – with the consequent drain on the

organization’s resources – constitutes far more than simply a setback to the

organization’s abstract social interests.”); Hispanic Interest Coal. of Alabama v.

Governor of Alabama, 691 F.3d 1236, 1243–44 (11th Cir. 2012) (“Furthermore,

the time and money expended on the planning and execution of these events has

forced the organization to divert resources from other immigration policy work.

According to Pickens, these endeavors ‘will continue to be detrimentally

impacted’ as they will have to be ‘substantially curtail[ed] or stop[ped].’ These

alleged injuries are sufficient under our precedent to confer standing on Alabama

Appleseed.”); Browning, 522 F.3d at 1166 (finding that the plaintiff-organization

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made a sufficient showing that it would suffer a concrete injury based only on its

“anticipat[ion] that it will expend many more hours than it otherwise would have

conducting follow-up work with registration applicants because voters will have

their applications denied due to matching failures”); Gwinnett Cty. NAACP v.

Gwinnett Cty. Bd. of Registration & Elections, --- F. Supp. 3d ----, 1:20-CV-

00912-SDG, 2020 WL 1031897, at *3 (N.D. Ga. Mar. 3, 2020) (“Plaintiffs here –

all of which are organizations dedicated to increasing voter participation through

advocacy and educating voters on election procedures – allege they will be

directly harmed by being forced to divert their resources to other projects and

initiatives to ensure voters are able to participate in the election. In particular,

the Court credits the testimony of Helen Butler, the Executive Direction of the

GCPA, who testified that her organization will be required to divert additional

resources to transport voters to and from BORE headquarters, the sole polling

location in Gwinnett County for the first week of the early voting period. This will,

in turn, hinder GCPA’s mission of promoting voter advocacy and turnout as a

whole. This is sufficient for Plaintiffs to demonstrate an imminent and concrete

injury.”); Martin v. Kemp, 341 F. Supp. 3d 1326, 1334 (“Defendants cite to no

authority that an organizational plaintiff must explain exactly how its resources

will be diverted from one endeavor to another before sufficient injury can be

shown” at the pleading stage.)14


14The Eleventh Circuit recently addressed the diversion of resources theory of standing in
Jacobson, holding that several organizations challenging a Florida statute regarding ballot


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       B.      Standing of Individual Plaintiffs

       Both Plaintiffs Meghan Gordon and Penelope Reid assert standing on their

own behalf and as class representatives on behalf of a class of Georgia registered

voters. (Am. Compl., Doc. 88 ¶¶ 14-16, 44-45.)

       With respect to the individual Plaintiffs, Defendant Raffensperger

challenges only the first two elements of standing,15 asserting that: (1) Plaintiffs

have neither a concrete injury nor an imminent one because their complaint lacks

allegations that COVID-19 will be a legitimate concern in time for the upcoming

elections or that voters are being compelled or advised to avoid voting in person

due to the pandemic; and (2) Plaintiffs’ injury is not traceable to any action by the

Secretary of State because the Secretary does not mandate a particular method of

voting and it is not the Secretary’s requirement that a voter who chooses to vote



ordering failed to prove at trial that they suffered an injury in fact under a diversion of resources
theory. 957 F.3d at 1206. The Jacobson Court concluded that the organizations’ proof was
insufficient because they failed to offer any evidence about “what activities [they] would divert
resources away from in order to spend additional resources on combatting” the effect of
Florida’s ballot-order statute. Id. Unlike the organizations in Jacobson, Plaintiff BVMF here
introduced evidence about how it is forced to divert resources and thus established an injury in
fact.
15 Secretary Raffensperger asserts two new arguments for the first time in his Reply. First,

Secretary Raffensperger asserts that “[c]ounty elections officials are responsible for the absentee
balloting process, and their decision to not pay for voters’ postage cannot be imputed to the
Secretary.” (Reply, Doc. 87 at 14.) And second, he now contends that “the relief Plaintiffs seek
against the Secretary will not redress their injuries, because the Secretary does not control the
mechanics of absentee ballots or postage.” (Id. at 15.) Generally, the Court will not consider new
arguments raised for the first time in a Reply brief. E.g., Herring v. Sec’y, Dep’t of Corr., 397
F.3d 1338, 1342 (11th Cir. 2005) (“As we repeatedly have admonished, ‘[a]rguments raised for
the first time in a reply brief are not properly before a reviewing court.’”); Boring v. Pattillo
Indus. Real Estate, 426 F. Supp. 3d 1341, 1349 (N.D. Ga. 2019) (“[T]he Court will not consider
new arguments made for the first time in the reply brief.”) However, the Court has addressed
these points as rolled into the Secretary’s original arguments because the governing statutory
provisions apply to both contentions.


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by mail must provide her own postage. In addition, Defendant Raffensperger

argues that Plaintiff Meghan Gordon lacks standing to assert the Anderson-

Burdick claim in Count II because she is not compelled to vote by mail, does not

claim it is a burden to purchase stamps, and her philosophical opposition to the

postage requirement is an insufficient injury. Therefore, Plaintiff Gordon lacks

standing to represent the interests of a subclass of voters for whom in-person

voting is at least materially burdensome or requires unreasonable effort because

of the pandemic.    Defendant Raffensperger has not expressly addressed the

standing of Plaintiff Penelope Reid who is in the high-risk category for COVID-19,

having simply incorporated the arguments from his motion to dismiss the

original complaint that did not include Reid.

      The DeKalb Defendants similarly argue that “Plaintiffs’ alleged injuries are

not fairly traceable to any act of the DeKalb BRE. Georgia law permits, but does

not require, that absentee applications and absentee ballots can be submitted by

mail. The United States Postal Service, rather than the DeKalb BRE, imposes any

requirement for postage to use the United States mail service to send absentee

applications and absentee ballots.” (Doc. 80 at 12-13.)

      The Court will first address Defendants’ general standing challenges. First,

the Court quickly disposes of Defendant Raffensperger’s argument that Plaintiffs’

alleged injuries are speculative, hypothetical, and that there is no imminent

threat of harm associated with in-person voting because the pandemic might just

go away in time for the elections. Plaintiffs’ Amended Complaint alleges that

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“[t]he number       of   confirmed   COVID-19 cases     in   Georgia is    growing

exponentially.”    (Am. Compl., Doc. 88 ¶ 29.)      Since the filing of Plaintiffs’

complaints and the parties’ briefs on the pending motions, the effects of the

pandemic have dramatically worsened across the nation and specifically in

Georgia. The Court takes judicial notice that the White House Coronavirus Task

Force recently placed Georgia in the COVID-19 red-zone, indicating Georgia has

more than 100 new coronavirus cases per 100,000 people and a positive

diagnostic test rate of more than 10%.

      Moving on to the second standing element, “to satisfy the causation

requirement of standing, a plaintiff’s injury must be ‘fairly traceable to the

challenged action of the defendant, and not the result of the independent action

of some third party not before the court.’” Jacobson v. Florida Sec’y of State, 957

F.3d 1193, 1207 (11th Cir. 2020) (quoting Lujan, 504 U.S. at 560 (alterations

adopted)). Defendant’s argument regarding traceability is two-fold. First, any

alleged injury is not traceable to the Secretary of State but is the result of

Plaintiffs’ choice to vote by mail – a method that carries a direct cost – rather

than in person – a method that does not. And second, the postage requirement is

imposed not by the Secretary of State, but by the United States Postal Service.

These arguments, in essence, mimic Defendant’s arguments on the merits of the

claims.

      As an initial matter, the Court notes that the Secretary of State has both the

authority and the power to oversee and implement the preparation and

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transmission of absentee ballots for a statewide election as Secretary

Raffensperger chose to do in connection with the June 9, 2020 primary election.

As discussed, Secretary Raffensperger sent absentee ballot applications to all

“active” registered voters and contracted with a vendor to prepare and mail out

absentee ballots to voters in a form prescribed by Secretary Raffensperger.

       According to Plaintiffs, Defendants are the ones with the power to impose

requirements on voters and the power to condition the right to vote on paying a

poll tax16 such as postage for mail-in ballots. (See Am. Compl. ¶ 19) (alleging that

“Defendant Brad Raffensperger, who is the Secretary of State and the chief

elections official of the State, is responsible for enacting elections statutes and

routinely issues guidance to the county election officials of all 159 counties on

various elections procedures and requirements. County election officials follow

the Secretary of State’s guidance.”) Plaintiffs allege that no state law requires

government officials to charge voters postage on absentee ballot applications, but

“voters are required to affix their own postage when mailing in the absentee

ballot, according to guidance issued by the Secretary of State.” (Id. ¶¶ 32, 34.)

See also Georgia Secretary of State, Elections Division, Absentee Voting, A

Guide for Registered Voters at 5 (providing instructions for “Submitting a Voted

Absentee Ballot and stating “[i]f mailing, you must affix postage to the ballot




16The Secretary does not assert that the postage requirement itself is insufficient to establish an
injury in fact as an unconstitutional poll tax.


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envelope”) (emphasis in original).17 Under Georgia law, the Secretary of State is

the chief election official. O.C.G.A. § 21-2-50(b) (referring to the Secretary as

“the state’s chief election official”). Georgia law confers primary authority on

Georgia’s Secretary of State to manage Georgia’s electoral system. See id.; see

also Ga. Op. Att’y Gen. No. 2005-3 (Apr. 15, 2005) (“[I]it is clear that under both

the Constitution and the laws of the State the Secretary is the state official with

the power, duty, and authority to manage the state’s electoral system. . . .”). The

Secretary of State and State Election Board also have significant statutory

oversight authority to train local elections officials, set election standards, and

investigate failures of local elections officials. See O.C.G.A. § 21-2-31; O.C.G.A. §

21-2-50(a)(11)). Section 21-2-50(a) of the Georgia election code prescribes the

powers and duties of the Secretary of State and requires the Secretary to prepare

the forms of ballots and furnish applications for absentee ballots, and envelopes

and instruction sheets for absentee ballots. O.C.G.A. § 21-2-50(a)(5); see also

O.C.G.A. § 21-2-384(b)(providing that “in addition to the mailing envelope

addressed to the elector, the superintendent, board of registrars, or absentee

ballot clerk shall provide two envelopes for each official absentee ballot, of such

size and shape as shall be determined by the Secretary of State, in order to permit

the placing of one within the other and both within the mailing envelope” and

“[t]he mailing envelope addressed to the elector shall contain the two envelopes,

the official absentee ballot, the uniform instructions for the manner of preparing
17   Available at https://sos.ga.gov/admin/uploads/Absentee_Voting_Guide_20142.pdf.


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and returning the ballot, in form and substance as provided by the Secretary of

State, provisional absentee ballot information, . . .”); O.C.G.A. § 21-2-379.4(d)

(providing that “[t]he form and arrangement of ballots shall be prescribed by the

Secretary of State and prepared by the election superintendent.”)

       Thus, because Georgia’s election code delegates authority to the Secretary

of State to oversee the elections and prepare the form of the absentee ballots and

envelopes, the Court finds that Plaintiffs’ alleged injuries are fairly traceable to

the Secretary of State’s alleged failure or refusal to provide pre-paid return

postage on all absentee ballots.18 At the motion to dismiss stage, Plaintiffs have

demonstrated a causal connection, even if arguably indirectly, between

Defendants’ challenged conduct and                 the asserted injury to Plaintiffs’

constitutional rights. Focus on the Family v. Pinellas Suncoast Transit Auth.,

344 F.3d 1263, 1273 (11th Cir. 2003) (“[E]ven harms that flow indirectly from the

action in question can be said to be ‘fairly traceable’ to that action . . . .”); Lewis v.

Governor of Alabama, 944 F.3d 1287, 1301 (11th Cir. 2019) (“it must be the effect

of the court’s judgment on the defendant” – not an absent third party – “that

redresses the plaintiff’s injury, whether directly or indirectly”).




18The DeKalb Defendants are in charge of the day-to-day operations of running elections in
DeKalb County. The Georgia election code tasks the local election superintendents, which
would include the DeKalb Defendants, with the preparation and delivery of absentee ballots.
Upon receipt of the form of the absentee ballot envelopes and instructions from the Secretary of
State, the DeKalb Defendants also have the authority under Georgia law to prepare the
envelopes with pre-paid return postage.


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       Finally, the Court need not address the Secretary’s argument that Plaintiff

Meghan Gordon, and the putative class, lack standing to assert the Anderson-

Burdick claim under Count II. The Court has already determined that Plaintiff

BVMF has standing. Only one named Plaintiff needs to have standing for each

claim asserted in the complaint. E.g., Wilding v. DNC Servs. Corp., 941 F.3d

1116, 1124–25 (11th Cir. 2019) (“[I]f ‘we have at least one individual plaintiff who

has demonstrated standing,’ we do not need to ‘consider whether the other ...

plaintiffs have standing to maintain the suit.’”) (quoting Arlington Heights v.

Metro. Hous. Dev. Corp., 429 U.S. 252, 264 & n.9 (1977)).

       Because the Court has determined that Plaintiffs have established standing

to bring their claims for declaratory and injunctive relief without class

certification, the Court need not take up Plaintiffs’ request for class certification

at this time.

III.   Legal Standard for Preliminary Injunction

       “To support a preliminary injunction, a district court need not find that the

evidence positively guarantees a final verdict in plaintiff’s favor.” Levi Strauss &

Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995). Instead, it

must determine whether the evidence establishes: (1) a substantial likelihood of

success on the merits; (2) a substantial threat of irreparable injury if the

injunction were not granted; (3) that the threatened injury to the plaintiff

outweighs the harm an injunction may cause the defendant; and (4) that granting

the injunction would not be adverse to the public interest. McDonald’s Corp. v.

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Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998). At the preliminary injunction

stage, a district court may rely on affidavits and hearsay materials which would

not be admissible evidence for a permanent injunction, if the evidence is

“appropriate given the character and objectives of the injunctive proceeding.”

Levi Strauss & Co., 51 F.3d at 985 (quoting Asseo v. Pan American Grain Co.,

805 F.2d 23, 26 (1st Cir. 1986)); McDonald’s Corp. v. Robertson, 147 F.3d 1301,

1306 (11th Cir. 1998). “A request for equitable relief invokes the district court’s

inherent equitable powers to order preliminary relief . . . in order to assure the

availability of permanent relief.” Levi Strauss & Co., 51 F.3d at 987; Federal

Trade Commission v. United States Oil and Gas Corp., 748 F.2d 1431, 1433–34

(11th Cir. 1984) (holding that a district court may exercise its full range of

equitable powers, including a preliminary asset freeze, to ensure that permanent

equitable relief will be possible). However, a preliminary injunction “is an

extraordinary and drastic remedy not to be granted unless the movant clearly

established the ‘burden of persuasion’ as to the four prerequisites.” McDonald’s

Corp., 147 F.3d at 1306 (internal citations omitted).

      “The first of the four prerequisites to temporary injunctive relief is

generally the most important.” Schiavo ex rel. Schindler v. Schiavo, 403 F.3d

1223, 1232 (11th Cir. 2005). Indeed, if Plaintiffs are “unable to show a substantial

likelihood of success on the merits, [the Court] need not consider the other

requirements.” Bloedorn v. Grube, 631 F.3d 1218, 1229 (11th Cir. 2011) (citing

Pittman v. Cole, 267 F.3d 1269, 1292 (11th Cir. 2001)).

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IV.    Discussion: Poll Taxes19

       Plaintiffs contend that requiring voters to buy postage in order to vote

absentee by mail is a de facto poll tax because it a cost that is a prerequisite to

voting. The Court first considers whether the requirement that voters pay for

their own postage to submit absentee ballot applications and absentee ballots is

per se impermissible as an actual or “de facto” poll tax under Harman or Harper

and their progeny. The Court next considers whether it is an impermissible

burden on the right to vote under Anderson/Burdick.

       A.     Twenty-Fourth Amendment — Poll Taxes for Federal
              Elections

       The Court begins by surveying the applicable law. The Twenty-Fourth

Amendment banned states from requiring voters in federal elections to pay poll

taxes. The operative clause of the Twenty-Fourth Amendment states as follows:

       The right of citizens of the United States to vote in any primary or
       other election for President or Vice President, for electors for
       President or Vice President, or for Senator or Representative in
       Congress, shall not be denied or abridged by the United States or any
       State by reason of failure to pay any poll tax or other tax.

U.S. Const. amend. XXIV. The amendment was ratified in 1964, and the Supreme

Court construed the amendment for the first time in Harman v. Forssenius, 380

U.S. 528, 529 (1965).




19For the purposes of this Order, the Court does not distinguish between Plaintiffs’ as applied
and facial challenges to the postage requirement under both Counts of the Amended Complaint,
as it is ultimately not outcome determinative.


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      Harman involved a Virginia statute which provided that “in order to

qualify to vote in federal elections one must either pay a poll tax or file a

witnessed or notarized certificate of residence.” Id. at 529. The certificate of

residence, which could be completed in lieu of the annual $1.50 poll tax, had to

be filed “no earlier than October 1 of the year immediately preceding that in

which the voter desires to vote and not later than six months prior to the

election.” Id. at 530–31. The Supreme Court framed the issue as: “whether the

State of Virginia may constitutionally confront the federal voter with a

requirement that he either pay the customary poll taxes as required for state

elections or file a certificate of residence.” Id. at 538.

      The Supreme Court explained by analogy to the Fifteenth Amendment that

the plain language of the Twenty-Fourth Amendment “‘nullifies sophisticated as

well as simple-minded modes’ of impairing the right guaranteed.” Id. at 540–41

(quoting Lane v. Wilson, 307 U.S. 268, 275 (1939)). The Court elaborated that it

“‘hits onerous procedural requirements which effectively handicap exercise of the

franchise’ by those claiming the constitutional immunity.” Id. at 541. The Court

found that “a real obstacle to voting in federal elections” was posed by Virginia’s

pay or certify process, particularly because unlike the poll tax which could be

submitted annually by mail, the certificate must be obtained from the county,

notarized, and filed in person six months before the election, “plainly a

cumbersome procedure.” Id. But crucially, the Court held that “[t]he requirement

imposed upon those who reject the poll tax method of qualifying would not be

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saved even if it could be said that it is no more onerous, or even somewhat less

onerous, than the poll tax.” Id. at 542 (emphasis added). Because the certificate

of residence constituted a “material requirement imposed upon the federal voter

solely because of his refusal to waive the constitutional immunity” against poll

taxes guaranteed by the Twenty-Fourth Amendment, the Court held that the

Virginia scheme “must fall under its ban.” Id.

      B.     Equal Protection Clause — Poll Taxes for State Elections

      The Twenty-Fourth Amendment only applies to federal elections. In 1966,

however, the Supreme Court prohibited states from charging their citizens fees to

exercise the right to vote in state elections in Harper v. Virginia State Bd. of

Elections, 383 U.S. 663 (1966). That case also dealt the same $1.50 poll tax at

issue in Harman. Id. at 664 n.1, 666 n.3. While the Supreme Court noted that the

Constitution does not expressly provide for a right to vote in state elections, “once

the franchise is granted to the electorate, lines may not be drawn which are

inconsistent with the Equal Protection Clause of the Fourteenth Amendment.” Id.

at 665. The Court struck down the $1.50 poll tax, holding that “a State violates

the Equal Protection Clause of the Fourteenth Amendment whenever it makes

the affluence of the voter or payment of any fee an electoral standard.” Id. at 666.

Thus, charging a fee to vote violates the Equal Protection Clause

      whether the citizen, otherwise qualified to vote, has $1.50 in his
      pocket or nothing at all, pays the fee or fails to pay it. The principle
      that denies the State the right to dilute a citizen’s vote on account of
      his economic status or other such factors by analogy bars a system
      which excludes those unable to pay a fee to vote or who fail to pay.

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Id. at 668. The Court in Harper rejected the argument that “that if [the State] can

demand from all an equal fee for a driver’s license, it can demand from all an

equal poll tax for voting.” Id. The Court explained that under the Constitution

“the interest of the State, when it comes to voting, is limited to the power to fix

qualifications.” Id. Because “[w]ealth, like race, creed, or color, is not germane to

one’s ability to participate intelligently in the electoral process,” a state may not

limit the right to vote to those with the ability or willingness to pay a fee. Id.

Thus, the Court essentially provided for strict scrutiny of any law that considered

wealth or payment of a fee to the government as a voter qualification. Id. at 670

(“[W]here fundamental rights and liberties are asserted under the Equal

Protection Clause, classifications which might invade or restrain them must be

closely scrutinized and carefully confined.”).

         C.      Postage Cases

         Defendant Raffensperger cites two cases which held that postage does not

constitute a poll tax. First, Bruce v. City of Colorado Springs, 971 P.2d 679, 681

(Colo. App. 1998) involved an election for approval of a city ordinance that was

carried out solely by mail.20 The plaintiff in that case argued that “requiring

voters to affix a postage stamp to their ballots [was] an unconstitutional poll tax.”

Id. at 684. The court assumed for the purposes of the opinion that by “requiring

voters to use a postage stamp in order to return their ballots, the state has

imposed a tax.” Id. The court stated that “[i]f a reasonable restraint on the right

20   As the election was local, the Twenty-Fourth Amendment did not apply.


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to vote is necessary to accomplish a permissible state policy, it will be upheld.” Id.

(citing United States v. Texas, 252 F. Supp. 234, 251 (W.D. Tex.), aff'd 384 U.S.

155 (1966)). Confusingly, the court also cited a 1910 Colorado Supreme Court

decision for the proposition that “if a qualified voter is prevented from voting

through the actions of another, there is no unconstitutional deprivation of the

right to vote in the absence of a willful intent to impose a requirement for such

purpose.” Id. (citing Colorado Midland Ry. Co., 48 Colo. 147, 149, 109 P. 430,

430 (1910). The court then upheld the law, explaining that the “plaintiff ha[d] not

asserted that the use of a stamp is a requirement imposed in order to prevent

people from voting. Rather, requiring voters to affix a stamp to their ballots is a

reasonable requirement imposed for the purpose of efficiently conducting a mail

ballot election. Id. at 684–85. The court did not address whether the postage

requirement was related to voter qualifications or undertake any analysis of less

restrictive alternatives. This lack of analysis combined with the apparent

consideration of willfulness, which plays no role in the analysis under Harman or

Harper, renders Bruce of limited persuasive value.

      More recently, the U.S. District Court for the Southern District of Ohio

decided League of Women Voters of Ohio v. LaRose, No. 2:20-cv-01638-MHW-

EPD (S.D. Ohio Apr. 3, 2020) (courtesy copy Doc. 51-8).21 Like this case, LaRose

involved a challenge to election regulations in light of the COVID-19 pandemic.


21The Court discusses the facts of LaRose in further depth in the Anderson–Burdick section
below.


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LaRose was a wide-ranging attack on a number of different aspects of the

elections. The issue of whether requiring postage to vote was an unconstitutional

poll tax constituted “one sentence” of the plaintiffs’ motion, was completely

unaddressed by the defendants, and occupied less than a page of the 28 page slip

opinion. Id. (Slip Op. at 25). The extent of the court’s analysis is set forth below:

      Nevertheless, the Court has considered the issue and finds that, to
      the extent obtaining a stamp is a “restriction on the right to vote,” it
      is not “unrelated to voter qualifications.” See Crawford v. Marion
      Cty. Election Bd., 553 U.S. 181, 189 (2008). Instead, it is the type of
      “evenhanded restriction[] that protect[s] the integrity and reliability
      of the electoral process itself” that satisfies Harper. See id. at 189–
      90 (quoting Anderson, 460 U.S. at 788, n.9); see LaRose Resp. 22,
      ECF No. 44 (citing R.C. 3505.18; 3509.03(B)(5) (explaining that a
      signature is needed to protect against voter fraud).

Id. While the court nominally invoked Harper, by citing to Anderson, the Court

appeared to apply the Anderson–Burdick standard, which is a less strict standard

than a claim under Harman or Harper. See Crawford, 553 U.S. at 189 (2008)

(“[U]nder the standard applied in Harper, even rational restrictions on the right

to vote are invidious if they are unrelated to voter qualifications.”). The LaRose

court does not offer any further explanation about why having a stamp has any

relationship to voter qualifications.

      Because the Court does not find either of these cases persuasive, and

neither party has pointed to any other cases squarely on point, the Court next

surveys cases involving costs related to voting more generally.




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      D.     “De Facto” Poll Taxes

      Both Harman and Harper dealt with literal poll taxes, that is a payment

specifically required by the government in exchange for exercising the right to

vote. However, a line of authority has developed around so called “constructive”

or “de facto” poll taxes, which do not necessarily involve a literal tax assessed on

voting, but which entail monetary burdens to voter qualification or the voting

process. These cases typically involve some form of voter identification

requirement.

      For example, in Common Cause/Georgia v. Billups, Judge Murphy of this

district considered whether a $20 to $35 fee for a photo ID necessary to vote in

Georgia elections was a de facto poll tax in Common Cause/Georgia v. Billups,

406 F. Supp. 2d 1326, 1367 (N.D. Ga. 2005) (Billups I). In that case, the plaintiffs

argued that Georgia could not get around the Twenty-Fourth Amendment “by

labeling something as a ‘fee’ when, in reality, it is a tax on the right to vote.” Id. at

1366. Although the fee was waivable in certain circumstances, the plaintiffs

argued that the small number of persons eligible for the waiver made this option

“illusory,” and “that the possibility that a small number of voters can avoid paying

the cost for a Photo ID card does not make the Photo ID scheme constitutionally

permissible” because “it still places a burden on the right to vote.” Id. at 1367.

      Judge Murphy first held that the fee for the driver’s license constituted a

poll tax “[b]ecause, as a practical matter, most voters who do not possess other

forms of Photo ID must obtain a Photo ID card to exercise their right to vote,

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[and] even though those voters have no other need for a Photo ID card, requiring

those voters to purchase a Photo ID card effectively places a cost on the right to

vote.” Id. at 1369. Next, he analogized the option of the fee waiver to the

certificate of residency available in Harman, as obtaining the waiver also entailed

appearing in person at a DDS office and carried the additional embarrassment of

completing an affidavit of indigency. Id. at 1370 (citing Harman, 380 U.S. at

542).

        Later, after Georgia made Voter IDs available without a fee for the cards

themselves, the plaintiffs in Billups renewed their challenge to the law in

Common Cause/Georgia League of Women Voters of Georgia, Inc. v. Billups,

439 F. Supp. 2d 1294, 1352 (N.D. Ga. 2006) (Billups II). The plaintiffs argued

“that voters who do not have an approved Photo ID must bear the costs of

traveling to a registrar’s office in order to [obtain] a Voter ID card, as well as the

costs for obtaining any documents necessary to obtain a Voter ID card.” Id. Judge

Murphy acknowledged that the Photo ID requirement placed a burden on the

right to vote “[b]ecause, as a practical matter, most voters who do not possess

other forms of Photo ID must obtain a Voter ID card to exercise their right to

vote.” Id. at 1354. However, he noted that the burden was ameliorated by the fact

that the “the Voter ID cards are available at no cost,” and the fact that Georgia

“eliminated the affidavit requirement for a fee waiver that [the court] previously

found objectionable with respect to the 2005 Photo ID Act.” Id. Judge Murphy

also rejected the plaintiffs’ arguments that the burden associated with arranging

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for transportation to a registrar’s office and successfully navigating the process of

obtaining a voter ID card did not amount to a poll tax. Id. (agreeing with and

quoting Ind. Democratic Party v. Rokita, 458 F. Supp. 2d 775 (S.D.Ind. 2006)

that “the cost of time and transportation cannot plausibly qualify as a prohibited

poll tax because those same ‘costs’ also result from voter registration and in

person voting requirements, which one would not reasonably construe as a poll

tax”). In finding these burdens did not constitute a poll tax, he explained that

“[e]lection laws will invariably impose some burden upon individual voters” but

that “the imposition of tangential burdens does not transform a regulation into a

poll tax.” Id. at 1354–55 (quoting Indiana Democratic Party v. Rokita, 458 F.

Supp. 2d 775, 827 (S.D. Ind. 2006), aff’d sub nom. Crawford v. Marion Cty.

Election Bd., 472 F.3d 949 (7th Cir. 2007), aff’d, 553 U.S. 181 (2008) (citing

Burdick v. Takushi, 504 U.S. 428, 433 (1992)) (alterations in original, internal

quotations omitted)).

      Finally, Judge Murphy considered the fee associated with obtaining a birth

certificate, which voters could, in turn, use to obtain their voter ID card as “[t]he

only incidental cost which might plausibly approach being a poll tax.” Id. at 1355

(quoting Rokita, 458 F. Supp. 2d 775). However, Judge Murphy found that the

plaintiffs’ contention that some voters might be required to pay a fee to obtain a

birth certificate in order to obtain a Voter ID card was “wholly speculative” and

that they had failed to show that any particular voter would actually be required

to incur that cost in order to vote. Id. In addition, because a birth certificate is

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only one of many documents that the registrar may accept to issue a Voter ID

card under the statute and State Election Board rules and regulations, Judge

Murphy held that the plaintiffs had failed to demonstrate that “the cost of

obtaining a birth certificate” was “sufficiently tied to the requirements of voting

so as to constitute a poll tax.” Id.; see also Rokita, 458 F. Supp. 2d at 827–28

(“Plaintiffs’ argument overlooks the fact that a valid birth certificate is only one of

the primary documents acceptable to the BMV; individuals can present various

documents for that purpose, some of which are again issued by the federal

government whose requirements and incidental fees are beyond the control of the

State.”)22

       Two years later, a plurality of the Supreme Court essentially endorsed the

Billups II rationale in Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 186

(2008) (sustaining Indiana’s Voter ID law and noting that “the State offers free

photo identification to qualified voters able to establish their residence and

identity”). The Supreme Court in Crawford did not explicitly consider whether

the Voter ID requirement was a “de facto” poll tax, but the plurality did discuss

financial burdens for voter identification briefly. The plurality noted that “if the

22The Missouri Supreme Court distinguished Billups II in Weinschenk v. State, 203 S.W.3d 201,
214 (Mo. 2006). Weinschenk was decided under the Missouri Constitution, but the Court
extensively relied on Harper for its decision. 203 S.W.3d at 213–14. In that case, the law at issue
providing for free Voter ID required either “a birth certificate or passport,” which the court
found that neither plaintiff possessed and which would cost the plaintiffs between $12 and $20
to obtain, depending on where the plaintiffs were born. Id. Without any other method of voting
absent possessing a Voter ID, the Court struck down the Voter ID requirement as a poll tax
“directly connected to Plaintiffs’ exercise of the right to vote,” even though it may involve
payment of money to a state other than Missouri. Id.



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State required voters to pay a tax or a fee to obtain a new photo identification,” it

would fall within Harper’s prohibition. Id. at 198. However, the Court did not

reach the question of whether a cost associated with supporting documentation

like birth certificates would constitute a poll tax, noting that “[w]hile it is true

that obtaining a birth certificate carries with it a financial cost, the record does

not provide even a rough estimate of how many indigent voters lack copies of

their birth certificates.” Id at 203 n.20. Additionally, the law at issue in that case

also allowed for “reasonable alternate documents” to birth certificates for proving

identity. Id. at 199 n.18.

      Several state courts have also addressed similar issues, both under the

federal and state constitutions. Milwaukee Branch of NAACP v. Walker, 851

N.W.2d 262, 277, 279 (Wis. 2014) (holding the Voter ID law at issue in that case

was a prima facie de facto poll tax because it required a “payment to a

government agency” for documentary evidence and adopting a saving

construction of state law to avoid issue); In re Request for Advisory Opinion

Regarding Constitutionality of 2005 PA 71, 740 N.W.2d 444, 451 (Mich. 2007)

(upholding a Voter ID law where voters who lacked identification could vote on

election day if they “sign[ed] an affidavit” that they lacked identification at the

election site, subject to a potential challenge procedure); City of Memphis v.

Hargett, 414 S.W.3d 88, 106 (Tenn. 2013) (upholding its law based on an

exemption for an in-person voter who “is indigent and unable to obtain proof of

identification without payment of a fee,” which the court construed as “including

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any fee associated with the documentation necessary to obtain a ‘free’ photo ID

card.”).

      Two circuit court decisions rejected the notion that costs for documents

necessary to obtain voter identification constitute poll taxes. First, the Ninth

Circuit held that “[a]lthough obtaining the identification required under [Arizona

law] may have a cost, it is neither a poll tax itself (that is, it is not a fee imposed

on voters as a prerequisite for voting), nor is it a burden imposed on voters who

refuse to pay a poll tax.” Gonzalez v. Arizona, 677 F.3d 383, 407 (9th Cir. 2012)

(en banc), aff’d on other grounds sub nom. Arizona v. Inter Tribal Council of

Arizona, Inc., 570 U.S. 1 (2013). Further, the Court held that Harper was

inapplicable because “[r]equiring voters to provide documents proving their

identity is not an invidious classification based on impermissible standards of

wealth or affluence, even if some individuals have to pay to obtain the

documents.” Id. at 409. The Court noted in a footnote that “[v]oters who use an

early ballot to vote do not even have to show identification.” Id. at 408 n.37.

      The Fifth Circuit reached a narrower issue in Veasey v. Abbott, 830 F.3d

216, 266 (5th Cir. 2016) (en banc). In that case, the State of Texas did not charge

a fee for obtaining birth certificates, but the plaintiffs contended that out of state

voters would be financially burdened with the cost of obtaining their birth

certificate. Id. The Court noted that Crawford “implied that requiring voters to

obtain photo identification and charging a fee for the required underlying

documentation would not qualify as a poll tax” and the Fifth Circuit explicitly so

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held, following Gonzalez. Id. (citing Crawford, 553 U.S. at 198 & n.17; Gonzalez,

677 F.3d at 407–10). However, it appears that as in Gonzalez, the only plaintiff

who “showed that he was unable to obtain an out-of-state birth certificate due to

its cost . . . was able to vote by mail.” Id. at 266 n.64.

      E.     Application of the Law to the Facts

      These “de facto” poll tax cases appear to stand for the narrow proposition

that payments to the government ‘in connection’ with voting can be considered

poll taxes under Harper and Harman even if not designated as such. Cf.

Crawford, 553 U.S. at 198 (“The fact that most voters already possess a valid

driver’s license, or some other form of acceptable identification, would not save

the statute under our reasoning in Harper, if the State required voters to pay a

tax or a fee to obtain a new photo identification”). Further, incidental payments

to a government agency may in some circumstances be sufficiently “connected”

with voting if such payments are a necessary condition of accessing the polls

generally applicable to all voters, such as payments for required documentation

in order to establish eligibility to vote. Compare Weinschenk, 203 S.W.3d at 214

(holding that the requirement of obtaining a birth certificate or passport was

“directly connected to Plaintiffs’ exercise of the right to vote” where there were

apparently no other options for documentation), with Billups II, 439 F. Supp. 2d

at 1352, 1355 (holding that “the cost of obtaining a birth certificate” was not

“sufficiently tied to the requirements of voting” where there were other options

for documentation).

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          Plaintiffs contend that requiring voters to buy postage in order to vote

absentee by mail is a de facto poll tax.23 (Pls.’ Br. at 9–10, Doc. 2-1.) Plaintiffs’

argument is relatively straightforward: “Because voters must purchase a

prerequisite        to    voting     (i.e.,   postage),     Defendants       have     imposed   an

unconstitutional de facto poll tax. The same holds true for absentee ballot

applications, which also require postage when mailed.” This is so regardless of

the de minimis cost of one stamp, (Br. at 12, Doc. 2-1, citing Harper, 383 U.S. at

666), though Plaintiffs presented evidence that most people are unable to

purchase just one stamp, and the cost of a stamp book can be burdensome. (Tr. at

39:21-40:10.)

          Plaintiffs concede that Georgia voters can vote in person without

purchasing a stamp, but Plaintiffs contend this means of voting presents a

“material burden,” both in light of the COVID-19 pandemic and for the elderly,

disabled, or those out-of-town, for which absentee voting is alleged to be the

“only meaningful option.” (Pls.’ Br. at 15, Doc. 2-1.) In support of this argument,

Plaintiffs rely on the reports of Drs. Reingold and Barreto, summarized in the

background section above.

          The Secretary, in response, argues that “Plaintiffs’ ‘de facto poll tax’

argument, however, fails because voters are not required to purchase a stamp as a

‘condition to obtaining a ballot.’” (Resp. at 21, Doc. 51) (citing Harper, 383 U.S.

at 668.) The Secretary contends that voters have the choice to use other methods
23   Plaintiffs do not appear to contend that the postage requirement is a literal poll tax.


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of voting, including voting in person, or assuming voting in person is not a safe

option, applying for a ballot by mail or email and dropping off the ballot in a

secure drop box. The Secretary further asserts that voters have the option of

putting the absentee ballot in the mail without postage and relying on the postal

service to deliver the election mail to the local registrar’s office. Thus, stamps are

more akin to other incidental costs for voting, “such as transportation costs, time

away from work, child care, and parking” which do not constitute a de facto poll

tax or invidious wealth discrimination. (Id. at 23–24.)

      According to the evidence in the record, secure drop boxes were not, at

least as of the June 2020 election, available in all counties, though they were

available in most counties, including DeKalb and Gwinnett counties where the

named individual plaintiffs live. (Doc. 130); see also Ex. AA Wright Declaration

(closest drop box 20 mile roundtrip). As to the mail without postage option, the

Court heard argument that the United States Postal Service has a policy that it

will deliver absentee ballots without postage and bill the relevant municipality.

(Sec’y Resp. Br. at 15-16, Doc. 51, citing Postal Bulletin 22391 2014 Election and

Political Mail Update, United States Postal Service (June 12, 2014),

https://about.usps.com/postal-bulletin/2014/pb22391/html/front_cvr.htm).

The Court was not presented with a certified copy of this policy, the Court did not

receive any evidence about the statewide compliance rate with this policy, and the

Court heard credible testimony that Plaintiff Black Voters Matter Fund was

concerned that presenting this option to voters would run the risk of confusion or

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otherwise harm its credibility. (Tr. at 47:13-21, Doc. 75.) At least one declarant

testified that he was told that the Hancock County post office would not deliver

absentee ballots without postage. (Warren Decl. ¶ 8, Doc. 124-4.)

      However, even if the Court were to take the policy as a given, the potential

existence of the “stamp free” option cuts both ways. On the one hand, it appears

to undercut the ‘connection’ or ‘tie’ with voting recognized by cases like Billups II,

as it is not a payment generally required for all voters in a literal sense. On the

other hand, the fact that the municipality will ultimately bear the cost of each

ballot with insufficient postage means that instructing voters to purchase stamps

defrays costs to the municipality, rendering the cost of a stamp more akin to a tax

than gas money or bus fare which is not similarly backstopped.

      The Court ultimately need not determine the effect of these “stamp free”

absentee ballot options (i.e., mailing a ballot without postage or utilizing a drop

box), as Plaintiffs’ poll tax claim fails for a more basic reason. The fact that any

registered voter may vote in Georgia on election day without purchasing a stamp,

and without undertaking any “extra steps” besides showing up at the voting

precinct and complying with generally applicable election regulations,

necessitates a conclusion that stamps are not poll taxes under the Twenty-Fourth

Amendment prism. In-person voting theoretically remains an option for voters in

Georgia, though potentially a difficult one for many voters, particularly during a

pandemic. The Court recognizes that voting in person is materially burdensome

for a sizable segment of the population, both due to the COVID-19 pandemic and

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for the elderly, disabled, or those out-of-town. But these concerns — while

completely justifiable and pragmatically solvable — are not the specific evils the

Twenty-Fourth Amendment was meant to address.

       Instead, Plaintiffs’ concerns about the current public health crisis and the

potential dangers associated with in-person voting for a large portion of Georgia’s

population are better addressed in connection with Plaintiffs’ claim in Count II

under Anderson–Burdick. Otherwise, accepting Plaintiffs’ argument under

Harman and Harper would necessitate ruling that the postage requirement on

absentee ballots in Georgia is now and has always been a poll tax, even before

the pandemic, because voting in person presents a material burden for some

segment of the population. The Court is not prepared under these circumstances

to make such a ruling under the Twenty-Fourth Amendment framework.24

       For the foregoing reasons, Plaintiffs have not shown a substantial

likelihood of success on the merits as to their poll tax claim, and Plaintiffs’

Motion for Preliminary Injunction is DENIED as to Count I of the Amended

Complaint. Furthermore, for the same reasons, the Secretary’s Motion to Dismiss

Amended Complaint (Doc. 90) is GRANTED as to Count I of the Amended

Complaint.


24This ruling is based on the current circumstances, as pled by the Amended Complaint. In the
event circumstances surrounding methods of voting radically change, the ruling may be
revisited. See Fed. R. Civ. P. 54(b) (“[A]ny order or other decision, however designated, that
adjudicates fewer than all the claims or the rights and liabilities of fewer than all the parties does
not end the action as to any of the claims or parties and may be revised at any time before the
entry of a judgment. . . .”).


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V.    Discussion: Anderson–Burdick

      The Court next turns to Plaintiffs’ alternative claim, that the postage

requirement is an unconstitutional burden on the right to vote. The Constitution

gives states primary responsibility for establishing the “Times, Places and

Manner of holding Elections for Senators and Representatives,” subject to

congressional modification. U.S. Const. Art. I, § 4, Cl. 1; see also id. Art. II, § 1,

Cls. 2, 4. However, the Supreme Court has found that in certain circumstances,

state election regulations are constrained by the First and Fourteenth

Amendments. See Anderson v. Celebrezze, 460 U.S. 780 (1983); Burdick v.

Takushi, 504 U.S. 428, (1992). The Court has described these constraints as

follows:

      When deciding whether a state election law violates the Fourteenth
      Amendment, the Court must weigh the character and magnitude of
      the burden the State’s rule imposes on those rights against the
      interests the State contends justify that burden, and consider the
      extent to which the State’s concerns make the burden necessary.
      Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997);
      Burdick v. Takushi, 504 U.S. 428, 434 (1992).

      “The right to vote freely for the candidate of one’s choice is of the
      essence of a democratic society, and any restrictions on that right
      strike at the heart of representative government.” Reynolds v. Sims,
      377 U.S. 533, 555 (1964). Voting is, indisputably, a right “‘of the most
      fundamental significance under our constitutional structure.’”
      Burdick, 504 U.S. at 433 (quoting Illinois Bd. of Elections v.
      Socialist Workers Party, 440 U.S. 173, 184 (1979)).

Common Cause Georgia v. Kemp, 347 F. Supp. 3d 1270, 1292 (N.D. Ga. 2018).

      In the first step of the Anderson–Burdick framework, the Court must

“weigh the character and magnitude of the burden the State’s rule imposes.”


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Curling v. Raffensperger, 403 F. Supp. 3d 1311, 1336 (N.D. Ga. 2019) (citing

Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997) and Burdick

v. Takushi, 504 U.S. 428, 434 (1992)); see also Democratic Executive Committee

of Florida v. Lee, 915 F.3d at 1319; Stein v. Ala. Sec. of State, 774 F.3d 689, 694

(11th Cir. 2014) (“[T]he level of the scrutiny to which election laws are subject

varies with the burden they impose on constitutionally protected rights —

“[l]esser burdens trigger less exacting review.”).

      A law that severely burdens the right to vote must be narrowly drawn to

serve a compelling state interest. Burdick, 504 U.S. at 434; Lee, 915 F.3d at 1318.

But “reasonable, nondiscriminatory restrictions” that impose a minimal burden

may be warranted by “the State’s important regulatory interests.” Common

Cause/Ga. v. Billups, 554 F.3d 1340, 1352 (11th Cir. 2009) (citing Anderson, 460

U.S. at 788). “And even when a law imposes only a slight burden on the right to

vote, relevant and legitimate interests of sufficient weight still must justify that

burden.” Lee, 915 F.3d at 1318-19; Common Cause/Ga. v. Billups, 554 F.3d 1340,

1352 (11th Cir. 2009).

      In the following section, the Court examines two lines of Anderson–

Burdick cases that are particularly on point as to Plaintiff’s claims: (1) other

COVID-19 voting rights cases, and (2) other natural disaster cases.

      A.     COVID-19 Cases

      The Court begins, most logically, with what other courts have done to

address voting rights during the pandemic; this Court is not the first to address

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election regulations during the COVID-19 outbreak. As the following cases

illustrate, district courts around the country have been quick to react to what they

determine to be inadequate state pandemic-related voting accommodations, but

have been stymied by appellate courts, including the Supreme Court.

            1.     Wisconsin

      The first notable case addressing pandemic-related voting concerns came

with a challenge to Wisconsin’s absentee voting scheme in Democratic Nat’l

Comm. v. Bostelmann, No. 20-CV-249-WMC, 2020 WL 1638374, at *3 (W.D.

Wis. Apr. 2, 2020). The uptick in demand for absentee ballots as a result of the

pandemic overwhelmed election officials, leading one city clerk to admit that

“[t]here [was] no practical way that a person submitting a request for an absentee

ballot on the deadline for submitting the request . . . [would] have the time to

receive, vote and return their ballot by Election Day,” and that the “8:00 p.m.

election day deadline for receipt of absentee ballots [was] completely

unworkable.” Id. at *5. The plaintiffs in that case sought an injunction postponing

the election entirely as well as prohibiting enforcement of several aspects of

Wisconsin election regulations, including: (1) the requirement that “absentee

ballots must be received by 8:00 p.m. on election day to be counted”; (2) the

requirement that that “absentee ballot requests must be received by April 2,

2020”; and (3) the requirement of providing photo ID for voter registration and

in-person witness certification for ballots. Id. at *2. The plaintiffs sought

extensions of the relevant deadlines and accommodations for the Photo ID and

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in-person witness requirements for those who could not safely comply because of

the pandemic. Id.

      The district court recognized that “the rapidly approaching election date in

the midst of the COVID-19 pandemic means that citizens will face serious, and

arguably unprecedented, burdens in exercising their right to vote in person.” Id.

at *13. The court noted that in-person early voting and registration had been

limited or even eliminated, poll workers had cancelled their shifts, and polling

sites had been ordered to close. Id. And the extent of the burden was not limited

to in-person voting, because of the aforementioned backlog of absentee requests.

The result was that “voters who did not or could not vote absentee” were “forced

on election day to choose between exercising their franchise and venturing into

public spaces, contrary to the public message to ‘stay home’ delivered by

countless public officials during the course of this pandemic.” Id. at *13.

      The court conceded that the state’s interests in maintaining order in the

election process, preventing ambiguity and confusion, and permitting states to

enforce their own laws were “strong.” Id. at *13 (citations omitted). Nonetheless,

the court held that they were not “so compelling as to overcome the severe

burdens that voters [were] sure to face in the upcoming election.” Id.

      Having found a likelihood of success, the district court turned to the

remaining factors for injunctive relief for each of the requested injunctions. The

court found that an injunction postponing the election was not justified, but that

providing additional time for receipt of absentee ballots and absentee ballot

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requests would allow the election officials to catch up with the backlog. Id. at

*16–18. The court did not impose a requirement of a postmarked-by date,

explaining that it was “simply moving the statutory absentee receipt deadline”

and that doing so would be “more generally in the public interest, which ‘favors

permitting as many qualified voters to vote as possible.’” Id. at *18 (citing Obama

for Am. v. Husted, 697 F.3d 423, 437 (6th Cir. 2012)). The court permitted voters

who could not comply with the witness requirement due to the pandemic to

submit a statement so affirming, but did not modify the Photo ID requirement in

light of a recent state supreme court decision adopting a limiting construction. Id.

at *20 (citing Jefferson v. Dane County, No. 2020AP557-OA (Wisc. March 31,

2020). The Seventh Circuit stayed the ruling excusing the witness requirement,

but otherwise left in place the injunction. No. 20-1538, 2020 WL 3619499, at *2

(7th Cir. Apr. 3, 2020)

       On further application for a stay of the injunction, the Supreme Court

granted a partial stay of the district court’s injunction a day before the election.

Republican Nat’l Comm. v. Democratic Nat’l Comm., 140 S. Ct. 1205, 1206 (April

6, 2020) (per curiam).25 The Court primarily took issue with the fact that the

district court did not impose a requirement that ballots be postmarked by the

election date, framing that decision as “[e]xtending the date by which ballots may

be cast by voters . . fundamentally alter[ing] the nature of the election.” Id. at


25No party challenged the additional time for the election officials to receive and process the
absentee ballots. 140 S. Ct. at 1206.


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1207. The Court made much hay of the fact that “plaintiffs themselves did not

even ask for that relief in their preliminary injunction motions,” a point with

which the dissent took issue. Id. at 1207, 1210 (Ginsburg, J., dissenting). The

Court dismissed concerns that the result of the postmarked-by date requirement

would be that voters may not actually receive absentee ballots in time to vote

them as a result of the backlog. Id. at 1207 (majority opinion). The Court noted

pointedly that “even in an ordinary election, voters who request an absentee

ballot at the deadline for requesting ballots . . . will usually receive their ballots on

the day before or day of the election” and faulted the plaintiffs for “put[ting]

forward no probative evidence in the District Court that these voters here would

be in a substantially different position from late-requesting voters in other

Wisconsin elections with respect to the timing of their receipt of absentee

ballots.” Id.

       Justice Ginsburg dissented. In her opinion, joined by three colleagues, she

expressed her concern that the majority’s order would “result in massive

disenfranchisement,” and remarked that the “Court’s suggestion that the current

situation is not ‘substantially different’ from ‘an ordinary election’ boggles the

mind.” Id. at Id. at 1209-10 (Ginsburg, J., dissenting). Justice Ginsburg had

noted that as of that Sunday morning, “12,000 ballots reportedly had not yet

been mailed out . . . [and that i]t is therefore likely that ballots mailed in recent

days will not reach voters by tomorrow,” the election day. Id. These voters, she

concluded, will either “have to brave the polls, endangering their own and others’

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safety,”26 id. at 1211, “[o]r they will lose their right to vote, through no fault of

their own.” Id.

              2.     Alabama

       Several aspects of Alabama’s voting procedure were challenged as

unconstitutional in light of the pandemic in People First of Alabama v. Merrill,

No. 2:20-CV-00619-AKK, 2020 WL 3207824, at *1 (N.D. Ala. June 15, 2020).27

The challengers in that case argued “that Alabama’s election laws—specifically,

the requirement that a notary or two witnesses must sign absentee ballots, the

requirement that absentee voters must submit a copy of their photo ID, and the

state’s de facto ban on curbside voting—run afoul of the fundamental right to vote

and violate federal law in light of the COVID-19 pandemic.” Id.

       Turning first to the witness or notary requirement, the court held that the

challenger’s concerns that complying with that requirement were justified,

writing that “it is clear that the plaintiffs are rightly concerned about the risk of

COVID-19 and minimizing their potential exposure to the virus.” Id. at *15

However, the Court did not find the challenged requirements to be a severe

burden subject to strict scrutiny, but rather one subject to Anderson–Burdick

balancing: “[S]atisfying the witness requirement presents some risk of COVID-19


26 According to an Associated Press report, more than 50 people who voted in person or worked
the polls in the Wisconsin elections tested positive for COVID-19. Scott Bauer, 52 who worked
or voted in Wisconsin election have COVID-19, AP News, April 29, 2020,
https://apnews.com/6428674bc2668ebd2db3c482f7f703c1.
27 Of note, the challengers sought an injunction as to “all the coming 2020 elections,” but the

court “consider[ed] only whether to grant the preliminary injunction for the [primary] election
on July 14.” No. 2:20-CV-00619-AKK, 2020 WL 3207824, at 5.


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exposure to voters who do not regularly come into contact with at least two adults

simultaneously, even if these voters follow social-distancing guidelines.” Id.

      The court agreed that the state’s “interest in preventing voter fraud” was

“legitimate,” but held that it did not outweigh the burden of potential COVID-19

exposure. Id. at *16. In so holding, the court discounted the role that the

requirement played in furthering the state’s interest, noting that the “witness

does not even attest that the voter is who she says she is” but just “that they

watched this person—who may or may not be known to them, and who may or

may not be the same person who completed the ballot—sign the affidavit.” Id.

      The court likewise determined the requirement that applicants include a

photocopy of their ID with an application to be likely unconstitutional under the

circumstances, explaining that “there is no guarantee that each of those plaintiffs

will be able to find a person to help make a copy for them, and requiring a

vulnerable voter to find a person willing to help at the risk of potential exposure

to COVID-19 is itself a burden.” Id. at *18. Finally, the court granted the

challengers’ request for “an order preventing the state from prohibiting local

election officials from providing curbside voting” in a manner consistent with

state law. Id. at *19 (N.D. Ala. June 15, 2020).

      On application by the state for stay to the Eleventh Circuit, the motion

panel unanimously denied a stay. People First of Alabama v. Sec’y of State for

Alabama, No. 20-12184, 2020 WL 3478093 (11th Cir. June 25, 2020). Judges

Robin Rosenbaum and Jill Pryor filed a joint concurring opinion. The judges

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concluded that the district court “did not abuse its discretion by concluding that

the ‘significant’ burdens imposed on high-risk Alabamian voters by the witness

and photo ID requirements outweigh the considerations set forth by Appellants.”

Id. at *7 (Rosenbaum and Jull Pryor, JJ., concurring). The judges explained that

as to the COVID-19 risk, “[t]he science is clear and undisputed,” and that “[t]he

photo ID and the witness requirements force at least some Alabamians, including

the individual plaintiffs here, to increase their risk of contracting COVID-19 by

foregoing nationwide and statewide social distancing and self-isolation rules and

recommendations to apply for and successfully vote absentee.” Id. While agreeing

that “combatting voter fraud” is “legitimate,” they determined that the state’s

“interest for maintaining the photo ID and witness requirements do not outweigh

the significant, if not severe, burdens faced by high-risk Alabamian voters.” Id. As

to the curbside voting, the judges wrote that “[t]he injunction does not require

anything. Instead, it just prohibits the Secretary from prohibiting counties from

choosing to implement curbside voting procedures “that otherwise comply with

state election law.” Id. at *6.

      Lastly, the judges addressed the potential issues posed by the proximity of

the district court’s order the pending election. Id. at 8 (citing Purcell, 549 U.S. at

5). The judges noted that “to the extent any Purcell problems exist, the district

court’s injunction requires the defendants to accept absentee ballot applications

and absentee ballots under relatively minor expanded circumstances,” and that

“at most,” the state would have ‘to provide additional training to ballot workers—

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a feat hardly impossible in the allotted time.” Id. “Purcell,” the court noted, “is

not a magic wand that defendants can wave to make any unconstitutional

election restriction disappear so long as an impending election exists.” Id.

        Judge Britt Grant, concurred “reluctantly,” largely on the grounds of

“uncertain[ty] that the proper parties have appealed.” Id. at *9–10 (Grant, J.,

concurring). Judge Grant was more concerned than the other panel members by

the potential Purcell issues, explaining that “[t]he Supreme Court has

emphasized time and time again that federal courts should not jump in to change

the rules on the eve of an election.” Id. at *9 (citing RNC v. DNC, 140 S. Ct. at

1205; Purcell, 549 U.S. at 4). “And a dangerous virus,” she wrote, “does not give

the federal courts unbridled authority to second-guess and interfere with a State’s

election rules.” Id.

        On further application for stay to the Supreme Court, the Court voted 5–4

to grant a stay of the injunction pending appeal with no explanation. Merrill v.

People First of Alabama, No. 19A1063, 2020 WL 3604049, at *1 (U.S. July 2,

2020)

              3.       Texas

        The Texas Democratic Party challenged Texas’s law limiting absentee

ballots to “absentees (those who will be away from home for all of early voting

and on election day), voters age sixty-five or older, and those with a ‘disability’

which prevents them from voting in person” in Texas Democratic Party v.




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Abbott, No. CV SA-20-CA-438-FB, 2020 WL 2541971, at *2 (W.D. Tex. May 19,

2020).

      As in other states, Texas “raise[d] the specter of widespread voter fraud if

mail ballots are employed,” which the court found did not justify the regulation,

noting that “[b]etween 2005 to 2018, there were 73 prosecutions out of millions

of votes cast.” Id. at *4. Instead, the court found “the Grim Reaper’s scepter of

pandemic disease and death is far more serious than an unsupported fear of voter

fraud in this sui generis experience.” Id. Thus, applying Anderson-Burdick, the

district court held the age and disability restrictions to be likely unconstitutional

and preliminarily enjoined their enforcement. The court characterized the burden

as “severe,” explaining that “voters face the choice between casting their ballot

and paying the price of criminal prosecution.” Id. at *29. Indeed, the court found

that the state’s protection of “the health safety of mail ballots for those 65 years of

age and older but not those 64 years, 364 days and younger” has “no rational

basis,” and thus likely failed Anderson–Burdick under any standard. Id. at *5.

The court also held that the age restriction was unconstitutional age

discrimination and thus “also violates the clear text of the Twenty-Sixth

Amendment under a strict scrutiny analysis.” Id.

      On application for stay to the Fifth Circuit, the motions panel unanimously

granted a stay of the injunction. The panel severely criticized the district court’s

opinion, observing that the district court improperly “rejected Texas’s asserted

interests in giving older citizens special protection and in guarding against

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election fraud.” Texas Democratic Party v. Abbott, 961 F.3d 389, 402 (5th Cir.

2020). The panel held that rational basis review would probably apply to an

absentee ballot voter classification that does not ‘absolutely prohibit’ some group

from voting, citing the Supreme Court’s decision in McDonald v. Board of

Election Commissioners of Chicago, 394 U.S. 802 (1969). Id. at 403. It

acknowledged that COVID-19, “to be sure, increases the risks of interacting in

public,” but characterized McDonald as standing for the proposition that “a

state’s refusal to provide a mail-in ballot does not violate equal protection

unless—again—the state has ‘in fact absolutely prohibited’ the plaintiff from

voting.” Id. at 404. The panel held that the restriction was thus likely to survive a

rational basis review. Id. at 406. For similar reasons, it held that the Twenty-

Sixth Amendment did not apply.

      The Texas Democratic Party’s application to vacate the stay to the Supreme

Court was denied without any noted dissent, although Justice Sotomayor noted

that the case raised “weighty but seemingly novel questions regarding the

Twenty-Sixth Amendment” and expressed a hope that the Fifth Circuit would

reach the merits “well in advance of the November election.” Texas Democratic

Party v. Abbott, 140 S. Ct. 2015 (2020).

             4.    Ohio

      This Court briefly examined the decision in LaRose in the section on poll

taxes above, but the case primarily involved an Anderson–Burdick claim. No.

2:20-cv-01638-MHW-EPD. LaRose involved a series of post-COVID election

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regulations passed by the Ohio General Assembly and signed by the governor on

March 27, 2020 in response to state court litigation. Id. (Slip Op. at 3). The

regulations set a voter registration deadline of February 18, 2020, extended the

absentee ballot request deadline to April 25, permitted the counting of absentee

ballots postmarked by April 27 and received by May 8, and required the Secretary

of State to send out postcards to registered voters with instructions on how to

apply for a ballot. Id. The plaintiffs in that case waged a wide-ranging challenge

under both the National Voter Registration Act of 1993 and the First and

Fourteenth Amendments. Id. (Slip Op. at 4–5).

      The plaintiffs contended that the law constituted a burden on the right to

vote because it provided insufficient time to effectively conduct voting,

considering that voters needed to purchase postage, obtain an application, mail

the application, receive back a ballot, and mail the ballot back within a month. Id.

(Slip Op. at 15). The court characterized the burden as “at most modest,” noting

that some voters were already able to early vote in person or absentee before the

new law was passed, that there were still some limited options to vote in person,

and that voters could submit an absentee ballot request on their own sheet of

paper. Id. (Slip Op. at 16–18). Further, it noted that the requirement that voters

affix a stamp to the ballot application was “no more than a minimal burden”

where stamps were “available at multiple locations that remain[ed] open during

the Governor’s stay-at-home order, including grocery stores,” and “[t]hose who



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[did] not wish to leave their homes to purchase stamps [could] purchase them

online.” Id. (Slip Op. at 17).

      The court held the minimal burden was justified by the state’s interest in

curbing the pandemic and administrative efficiency. Id. (Slip Op. at 18–20).

Additionally, it noted that extending the deadline further may have resulted in

the state political parties being unable to send delegates to their national

conventions. Id. (Slip Op. at 21). Finally, the court distinguished the Hurricane

Matthew Cases (discussed next) on the grounds that the Ohio law did not involve

a categorical denial of the right to vote. Id. (Slip Op. at 23–34).

      B.     Natural Disaster Cases

      The Court next considers cases involving Hurricane Matthew’s impact on

the 2016 General Election. On October 6, 2016, Hurricane Matthew, “a Category

4 storm with winds of at least 140 miles per hour” menaced Central Florida after

devastating Haiti. Hurricane Matthew Approaches Florida; Governor Urges 1.5

Million      to     Flee,        New    York      Times       (Oct.   6,   2016),

https://www.nytimes.com/2016/10/06/us/hurricane-matthew-us.html. Florida

Governor Rick Scott ordered 1.5 million people to evacuate. Id.

      Meanwhile, the nation was in the midst of a bitterly divisive presidential

election. Florida’s voter registration deadline was set for Tuesday, October 11,

2016, less than a week after the evacuation order. Fla. Democratic Party v. Scott,

215 F. Supp. 3d 1250, 1254 (N.D. Fla. 2016). The Plaintiffs in Scott sought an

injunction against enforcement of the deadline in light of the evacuation. Id. The

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court recognized that “[l]iterally, in excess of a hundred thousand aspiring

eligible Florida voters were likely to have registered to vote in the final week of

voter registration,” and that “Hurricane Matthew not only forced many of those

voters to evacuate the state, but also foreclosed the only methods of registering to

vote: in person or by mail,” as many county offices had closed and the postal

service had suspended operations. Id. at 1257. The court held that Florida’s

statutory registration framework “completely disenfranchise[d] thousands of

voters,” and characterized the burden as “severe,” and therefore subject to strict

scrutiny. Id. (citing Burdick, 504 U.S. at 434).

      On the other hand, the court found any prospective burden on the State of

Florida for having to extend the voter registration deadline “at best de minimis.”

Id. The court held that even if rational basis applied, the state’s interest would

still fail to justify the burden because it was “wholly irrational . . . for Florida to

refuse to extend the voter registration deadline when the state already allows the

Governor to suspend or move the election date due to an unforeseen emergency.”

Id. (citing Fla. Stat. § 101.733). The court granted the injunction. Id. at 1258–59.

      Likewise, in Chatham County, Georgia, as a result of the hurricane, the

Board of Elections office “was closed from October 6 to October 12, 2016,” despite

a voter registration deadline of October 11, 2016. Georgia Coal. for the Peoples'

Agenda, Inc. v. Deal, 214 F. Supp. 3d 1344, 1345 (S.D. Ga. 2016). South Georgia

also experienced “mandatory evacuations” and “post office closures and the

suspension of mail service during this period.” Id. at 1344–35. Georgia contended

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that the hurricane did not prevent voters from registering electronically on the

one hand, and that extending the deadline would cause early voting to overlap

with registration, presenting “significant administrative burdens.” Id. at 1345.

The court rejected this argument, noting that “those administrative hurdles pale

in comparison to the physical, emotional, and financial strain Chatham County

residents faced in the aftermath of Hurricane Matthew.” Id.

       C.     Application of the Law to the Facts

       The Court returns now to the present circumstances. Plaintiffs contend

that “[d]ue to the pandemic, voting by mail is now the only meaningful option for

the vast majority of Georgia voters for exercising their right to vote. Under these

circumstances, the state’s imposition of a postage requirement effectively

imposes an unavoidable monetary burden on the franchise.” (Br. at 15–16, Doc.

2-1.) Plaintiffs argue the burden, regardless of whether characterized as slight or

severe, is not outweighed by the state’s interest in saving money. (Id. at 16.)

       The Secretary argues in response that he has taken action to protect

Georgia voters from the pandemic, such as pushing back election dates,

voluntarily sending out absentee ballot applications to all active voters in the

June 2020 primary election,28 providing funding to polling sites for additional

hygiene measures, and overseeing election regulations and grant allocations to

28The Court takes judicial notice that the Secretary has publicly made clear that his office will
not continue this practice of mass transmission of absentee ballot applications
in connection with elections post-June 2020.                See, e.g., https://www.ajc.com/
news/state--regional-govt--politics/absentee-voting-program-embraced-georgia-voters-then-
abandoned/hkNttNsgXlaYZXjUatnvjK/.


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enable counties to establish secure drop boxes for absentee ballots and permit the

distribution of stamps without fear of prosecution. And, while the Secretary

cannot truly take credit for it, the Court heard evidence about the U.S. Postal

Service’s purported policy of delivering absentee ballots with insufficient

postage.29

       Plaintiffs point out that for many voters, potential alternatives such as drop

boxes simply do not present a viable option. It is also clear that many counties

did not set up drop boxes for absentee ballots, and Plaintiffs argue that those

counties that did provide boxes did not provide enough based on guidelines

issued by the Department of Homeland Security. (Mot. to Supp., Doc. 136.)

Plaintiff BVMF argues that advising voters to submit ballots by mail without

postage risks loss of its credibility, and contends that it is harmed by having to

divert funding to pay for and distribute postage. And the Court certainly credits,

for present purposes, Plaintiffs arguments that purchasing stamps can be more

burdensome for some groups than others, both based on cost and location.

(Albright Testimony, Tr. at 39:21-24; Barreto Decl. ¶¶ 42–43, 74, 86, 89–90, 92.)

       However, the Court notes that the restrictions upheld in Alabama (witness

requirement) and Texas (prohibiting much of the population from voting

absentee entirely) were arguably more onerous, and generated more risk of




29The Court also heard evidence, though hearsay within hearsay, that the Hancock County post
office would not deliver absentee ballots without postage. (Warren Decl. ¶ 8, Doc. 124-4.)


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COVID-19 exposure, than the postage requirement.30 In light of these appellate

decisions, and the potential alternatives to purchasing stamps available to many

(though not all) voters, the Court cannot say the burden of obtaining postage is

severe, and instead characterizes it as moderate for present purposes. Thus, the

next step is examining the State’s interest in the postage requirement.

       The Parties agree that the state’s interest at issue is “financial.” (Sec’y Resp.

at 51.) Plaintiffs contend that that State’s interest is “minimal” because it “already

know[s] how to prepare prepaid postage,” and further that “the government’s

interest in saving money does not justify [Plaintiffs’ burden], regardless of how

small the amount.” (Pls.’ Br. at 2-1 (citing Harman, 380 U.S. at 544)). However,

the Secretary is correct that “[f]iscal responsibility, even if only incrementally

served, is undeniably a legitimate and reasonable legislative purpose.” Husted,

834 F.3d at 635. The State has a limited amount of resources (particularly during

a state of emergency), and has already allocated substantial funds to addressing

burdens on the right to vote, including $3 million to send absentee ballot


30The Court is somewhat bewildered by the Supreme Court’s approach to COVID-19 cases. One
possible explanation is a longstanding reluctance of courts to modify election rules close to the
date of elections following the Supreme Court’s admonition in Purcell, 549 U. S. at 1. However,
a hard-and-fast rule against modifying election regulations close to an election would seem
inherently incompatible with emergencies, which by definition arise unexpectedly and may
jeopardize fundamental voting processes. This leads the Court to the next observation. A second
possible explanation for these outcomes is a general deference to states to deal with
emergencies, including unexpected threats to the safety of voters. States theoretically have more
expertise than courts in responding to crises. However, the unfortunate politicization of COVID-
19 responses across the nation may have led to voter disenfranchisement, which would not be
brooked by a court outside of a pandemic scenario. And as the Hurricane Matthew cases
demonstrate, a court may properly step in to clear obstacles to voting presented by emergencies
where a state has completely failed to take any action, or where obstacles have been maintained
that effectively preclude a significant swath of citizens from casting votes.


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applications to registered voters, (Tr. at 90:3-7), providing funding for polling

site sanitization, and creating grants for secure drop boxes. Mr. Rayburn

estimated the cost of providing prepaid postage for Plaintiffs’ requested relief at

between $450,000 to $4.2 million per election, depending on voter participation,

at a time where the budget is already strained as a result of the pandemic. (Aff.

Rayburn ¶ 17.) The Supreme Court appears to have signaled that in light of the

COVID-19 pandemic, where the state has taken concrete and constructive action

to protect the right to vote, the Court must be cautious in second guessing this

action.31 See e.g., Republican Nat’l Comm., 140 S. Ct. at 1207–08 (April 6, 2020)

(“[T]he dissent’s rhetoric is entirely misplaced and completely overlooks the fact

that the deadline for receiving ballots was already extended to accommodate

Wisconsin voters, from April 7 to April 13.”); see also Little v. Reclaim Idaho, No.

20A18, 2020 WL 4360897, at *2 (U.S. July 30, 2020) (“The Governor and

Secretary of State here, for example, have suspended some limits on absentee

voting and processed requests for absentee ballots through online channels.”).

What constitutes sufficient action to satisfy such a standard under the

circumstances of a given case is a whole other question.




31The Court leaves for another day the question of when a state’s interests, including financial
interests, are outweighed by a moderate or even minimal burden on the right to vote where the
state has completely failed to take any concrete and constructive action to protect the right to
vote during an emergency such as a pandemic, or where the record evidence is greater than what
was established by Plaintiffs in this specific case. Cf. Scott, 215 F. Supp. 3d at 1254; Deal, 214 F.
Supp. 3d at 1345.


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      Moreover, Plaintiffs have failed to present sufficient evidence at this time

to show their burden outweighs the State’s interest. Plaintiffs presented: (1) only

one declaration from a voter who could not afford a stamp and was forced to vote

in person, though that voter is not a named plaintiff (Bryant Supp. Decl. ¶ 2, Doc.

124-1); and (2) not a single declaration from a voter who wanted to vote by drop

box but was unable to. The Court finds that in light of the alternatives to

purchasing a postage stamp discussed above, Plaintiffs have not, at least on the

existing record in this specific case, demonstrated a substantial likelihood of

success on their argument that the burden of the postage requirement outweighs

the cost to the state of the requested relief. Because a showing of substantial

likelihood of success on the merits “is generally the most important” factor,

Schiavo, 403 F.3d at 1232, and because the Court has held that Plaintiff was

“unable to show a substantial likelihood of success on the merits, [the Court]

need not consider the other requirements” for injunctive relief. Bloedorn, 631

F.3d at 1229. The Court cautions once again though, that the evidentiary record

and framing of claims related to the absentee ballot voting process may differ in

other cases and therefore yield different results.

      As to the Secretary’s Motion to Dismiss, the Court finds that Plaintiffs have

at the very least stated a claim that a burden exists on the right to vote under the

Anderson–Burdick line of cases. The Court’s denial of the preliminary injunction

is based on the expedited record as it exists at this time, but discovery and factual



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development may potentially fortify Plaintiffs’ claims for permanent injunctive

relief.

          The Court has reviewed the Secretary’s other arguments for dismissal of

Count II. The Secretary contends that the matter is not ripe as to future elections,

noting that

          the need for additional factual development in this matter is obvious.
          Hopefully, the public health emergency will be over by August or
          November, and Plaintiffs have not alleged anything specific to the
          contrary. But, if this Court decides that Plaintiffs have shown an
          imminent injury, deciding to require postage now and for all future
          elections places the cart before the horse.

(Doc. 67-1 at 19.) The Court agrees that additional factual development is

prudent, but does not agree that this renders the matter unripe, or that the public

health emergency, most unfortunately, is likely over. Lastly, the Court has

reviewed the Secretary’s two-page federalism argument. (Doc. 61-1 at 22–23.)

The Court disagrees that a dispute over whether the postage requirement

constitutes a burden on the right to vote is “directly contrary to the separation of

powers between state and federal governments,” simply because the potential

result could end up costing the State money or implicate the Secretary’s envelope

design or where ballots are sent. (Id.)

VI.       Conclusion

          Plaintiffs presented compelling evidence that the state’s handling of the

June 2020 election was plagued with difficulties, including many instances of

voters not receiving their absentee ballots, and as a result being unnecessarily

exposed to the virus. (See supra, Post-June 2020 Election Voter Affidavits.)
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However, the Court agrees with the Secretary that these important issues are

beyond the scope of this litigation, which is focused on the postage requirement

for absentee voting. Other courts in this district are considering more direct

challenges to Georgia’s handling of the elections in general during the

pandemic.32 Variations in the evidence and issues presented in cases may always

lead to a different record, resulting in different outcomes. The narrow ruling in

this case is certainly not likely the final word on absentee balloting issues or the

implementation of the absentee ballot process in Georgia.

          Plaintiffs’ Motion to Supplement [Doc. 136] is GRANTED. The Motion for

a Preliminary Injunction [Doc. 2] is DENIED. The Secretary’s Motion to Dismiss

Plaintiffs’ Amended Complaint [Doc. 90] is GRANTED as to Count I, and

DENIED as to Count II. Any amendments to the Parties’ Joint Preliminary

Report and Discovery Plan [Doc. 116] must be filed no later than 14 days from the

date of entry of this Order.

          IT IS SO ORDERED this 11th day of August, 2020.



                                                   ____________________________
                                                   Amy Totenberg
                                                   United States District Judge




32   See, e.g., cases cited supra in footnote 2.


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